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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


     In re:                                                                         Chapter 11

     STRUCTURLAM MASS TIMBER U.S., INC., et al.,1                                   Case No. 23-10497 (CTG)

                                                    Debtors.                        (Jointly Administered)




                     SCHEDULES OF ASSETS AND LIABILITIES FOR
              STRUCTURLAM MASS TIMBER CORPORATION (CASE NO. 23-10499)




1.    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number or
      Canadian business number, as applicable, include: Structurlam Mass Timber U.S., Inc. (6287); Natural Outcomes, LLC (n/a);
      Structurlam Mass Timber Corporation (5050); and SLP Holdings Ltd. (3114). The location of the Debtors’ headquarters is:
      2176 Government Street, Penticton, British Columbia, Canada V2A 8B5. The address of the registered agent for Structurlam
      Mass Timber U.S., Inc. is: 8 The Green, Suite A, Dover, Delaware 19901.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                         )
    In re:                                                               ) Chapter 11
                                                                         )
    STRUCTURLAM MASS TIMBER U.S., INC., et al., 1                        ) Case No. 23-10497 (CTG)
                                                                         )
                                                                         ) (Jointly Administered)
    Debtors.                                                             )
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        GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
         AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS
           AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                    Introduction

        The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of
Financial Affairs (collectively, the “Statements,” and, together with the Schedules, the “Schedules
and Statements”) filed by SLP Holdings Ltd. (“SLP”), Structurlam Mass Timber Corporation
(formerly SLP Operations Ltd., “SMTC”), Structurlam Mass Timber U.S., Inc. (“SMTU”), and
Natural Outcomes, LLC (“NOLLC” and together with SLP, SMTC, and SMTU, the “Company”)
as debtors and debtor-in-possession (collectively, the “Debtors”) in the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”), were prepared in accordance with
section 521 of title 11 of the United States Code (the “Bankruptcy Code”), and Rule 1007 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by management of the Debtors,
with the assistance of the Debtors’ professional advisors, and are unaudited.

        The Schedules and Statements have been signed by Shawn Turkington, Interim Chief
Financial Officer (“CFO”) of the Company. Mr. Turkington has not (nor could have) personally
verified the accuracy of each statement and representation, including, for example, statements and
representations concerning amounts owed to creditors, classification of such amounts, and their
addresses. In addition, Mr. Turkington has not (nor could have) personally verified the
completeness of the Schedules and Statements, nor the accuracy of any information contained
therein. In reviewing and signing the Schedules and Statements, Mr. Turkington necessarily relied
upon various personnel of the Debtors and the Debtors’ professional advisors and their efforts,

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             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number or Canadian business number, as applicable, include: Structurlam Mass Timber U.S.,
             Inc. (6287); Natural Outcomes, LLC (n/a); Structurlam Mass Timber Corporation (5050); and SLP Holdings
             Ltd. (3114). The location of the Debtors’ headquarters is: 2176 Government Street, Penticton, British
             Columbia, Canada V2A 8B5. The address of the registered agent for Structurlam Mass Timber U.S., Inc. is:
             8 The Green, Suite A, Dover, Delaware 19901.




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statements, and representations in connection therewith. Although management has made
reasonable efforts to ensure that the Schedules and Statements are accurate and complete based
upon information that was available to them at the time of preparation, subsequent information or
discovery thereof may result in material changes to the Schedules and Statements, and inadvertent
errors or omissions may exist.

        These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated
by reference in, and comprise an integral part of all of the Schedules and Statements. The Global
Notes should be referred to and reviewed in connection with any review of the Schedules and
Statements. The Global Notes are in addition to any specific notes contained in any Debtor’s
Schedules or Statements. Disclosure of information in one Schedule, Statement, exhibit, or
continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, Statement, exhibit, or continuation sheet.

      The Schedules, Statements, and Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of the Debtors.

                           Global Notes and Overview of Methodology

1.       General Reservation of Rights. Although the Debtors’ management has made every
         reasonable effort to ensure that the Schedules and Statements are as accurate and complete
         as possible under the circumstances based on information that was available to them at the
         time of preparation, subsequent information or discovery may result in material changes to
         the Schedules and Statements, and inadvertent errors or omissions may have occurred,
         some of which may be material. Because the Schedules and Statements contain unaudited
         information, which remains subject to further review, verification, and potential
         adjustment, there can be no assurance that the Schedules and Statements are complete. The
         Debtors reserve all rights to amend the Schedules and Statements from time to time, in any
         and all respects, as may be necessary or appropriate, including the right to dispute or
         otherwise assert offsets or defenses to any claim reflected in the Schedules and Statements
         as to amount, liability, or classification, or to otherwise subsequently designate any claim
         (“Claim”) as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained
         in the Schedules and Statements shall constitute an admission of any claims or a waiver of
         any of the Debtors’ rights with respect to these chapter 11 cases, including issues involving
         substantive consolidation, recharacterization, equitable subordination, and/or causes of
         action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant
         non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
         contained elsewhere in the Global Notes does not limit in any respect the general
         reservation of rights contained in this paragraph.

2.       Description of Case and “As Of” Information Date. On April 21, 2023 (the “Petition
         Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy
         Code in the Bankruptcy Court. The Debtors continue to operate their business and manage
         their assets as a debtors-in-possession pursuant to sections 1107(a) and 1108 of the
         Bankruptcy Code. No request for the appointment of a trustee or examiner has been made

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         in these chapter 11 cases. Unless otherwise stated herein, assets and liabilities are reported
         as of April 21, 2023.

3.       Basis of Presentation. The Schedules and Statements purport to reflect the assets and
         liabilities of the Debtors. The Debtors reserve all rights relating to the legal ownership of
         assets and liabilities and nothing in the Schedules or Statements shall constitute a waiver
         or relinquishment of such rights. Information contained in the Schedules and Statements
         has been derived from the Debtors’ books and records. The Schedules and Statements do
         not purport to represent financial statements prepared in accordance with Generally
         Accepted Accounting Principles nor are they intended to be fully reconcilable to audited
         financial statements.

4.       Totals. All totals that are included in the Schedules and Statements represent totals of all
         known amounts included in the Debtors’ books and records. To the extent there are
         unknown or undetermined amounts, the actual totals may be different than the listed total,
         and the difference may be material. In addition, the amounts shown for total liabilities
         exclude items identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or
         “undetermined,” and, thus, ultimate liabilities may differ materially from those stated in
         the Schedules and Statements.

5.       Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets
         and liabilities from the Schedules and Statements, including but not limited to certain
         deferred expenses and deferred revenue items, lease assets and related lease liabilities and
         certain accrued liabilities. The Debtors have also excluded potential claims arising on
         account of the potential rejection of executory contracts and unexpired leases, to the extent
         such claims exist. Certain immaterial assets and liabilities that are not reported or tracked
         centrally may have been excluded.

6.       Amendments and Supplements; All Rights Reserved. Reasonable efforts have been
         made to prepare and file complete and accurate Schedules and Statements; inadvertent
         errors or omissions, however, may exist. The Debtors reserve all rights, but are not
         required, to amend and/or supplement the Schedules and Statements from time to time as
         is necessary and appropriate.

7.       References. References to applicable loan agreements and related documents are
         necessary for a complete description of the collateral and the nature, extent, and priority of
         liens and/or claims. Nothing in the Global Notes or the Schedules and Statements shall be
         deemed a modification or interpretation of the terms of such agreements.

8.       Currency. Amounts originally denominated in foreign currencies have been converted
         into U.S. dollar equivalents at the exchange rate as of April 20, 2023 for all assets and
         liabilities and at an average exchange rate for income statement and cash flow items.

9.       Book Value. Unless otherwise indicated, the Debtors’ assets and liabilities are shown on the
         basis of its net book values as of April 21, 2023. Thus, unless otherwise noted, the Schedules
         and Statements reflect the carrying value of the assets and liabilities as recorded on the


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         Debtors’ books. Net book values may vary, sometimes materially, from market values. The
         Debtors do not intend to amend these Schedules and Statements to reflect market values.

10.      Paid Claims. The Bankruptcy Court authorized the Debtors to pay certain outstanding
         prepetition Claims—including, but not limited to, payments to employees, taxes, critical
         vendors, shippers, and holders of claims under section 503(b)(9) of the Bankruptcy Code
         — pursuant to various “first day” orders entered by the Bankruptcy Court. Accordingly,
         certain outstanding liabilities as of the Petition Date may have been reduced by post-
         petition payments made on account of prepetition liabilities. Where the Schedules list
         creditors and set forth the Debtors’ scheduled amount of such Claims, such scheduled
         amounts reflect amounts owed as of the Petition Date, after incorporating invoices received
         post-petition for prepetition services. In addition, to the extent the Debtors later pay any
         of the Claims listed in the Schedules and Statements pursuant to any orders entered by the
         Bankruptcy Court, the Debtors reserve all rights to amend or supplement the Schedules
         and Statements or take other action, such as filing Claim objections, as is necessary and
         appropriate to avoid overpayment or duplicate payments for liabilities.

11.      Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
         correctly characterize, classify, categorize, or designate certain Claims, assets, executory
         contracts, unexpired leases, and other items reported in the Schedules and Statements, the
         Debtors nonetheless may have improperly characterized, classified, categorized, or
         designated certain items. The Debtors reserve all rights to recharacterize, reclassify,
         recategorize, or re-designate items reported in the Schedules and Statements at a later time
         as they determine to be necessary and appropriate prior to any plan or disclosure statement
         being filed.

12.      Claims of Third-Party Entities. Although the Debtors have made reasonable efforts to
         classify properly each Claim listed in the Schedules as being either disputed or undisputed,
         liquidated or unliquidated, and/or contingent or non-contingent, the Debtors have not been
         able to fully reconcile all payments made to certain third-party entities on account of the
         Debtors’ obligations to both such entity and its affiliates. Therefore, to the extent that the
         Debtors have classified its estimate of Claims of a creditor as disputed, for example, all
         Claims of such creditor’s affiliates listed in the Schedules and Statements shall similarly be
         considered disputed, whether or not they are individually designated as such.

13.      Liabilities. The Debtors allocate liabilities between the prepetition and post-petition
         periods based on the information and research conducted in connection with the
         preparation of the Schedules and Statements. As additional information becomes available,
         and further research is conducted, particularly with respect to the Debtors’ payable
         accounts, the allocation of liabilities between the prepetition and post-petition periods may
         change. The Debtors reserve all rights to- amend the Schedules and Statements as they
         deem appropriate.

         The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
         under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all
         rights to dispute or challenge the validity of any asserted claims under section 503(b)(9) of


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         the Bankruptcy Code or the characterization of the structure of any such transaction or any
         document or instrument related to any creditor’s Claim.

14.      Guarantees and Other Secondary Liability Claims. Where guarantees have been
         identified, they have been included in the relevant liability Schedule for the Debtors
         affected by such guarantee. The Debtors have also listed such guarantees on the applicable
         Schedule H. It is possible that certain guarantees embedded in the Debtors’ executory
         contracts, unexpired leases, secured financings, debt instruments, and other such
         agreements may have been inadvertently omitted. The Debtors reserve all rights to amend
         the Schedules to the extent that additional guarantees are identified or such guarantees are
         discovered to have expired or be unenforceable.

15.      Intercompany Claims. The net balance of intercompany transactions between the Debtors
         is set forth on Schedule A/B or Schedule E/F, as applicable, and receivables are classified
         as current assets. Intercompany transfers between Debtors are not captured on Statement 2
         or 3. The listing in the Schedules or Statement (including, without limitation, Schedule A/B
         or Schedule E/F) by the Debtors of any obligation between a Debtor and a Debtor is a
         statement of what appears in the Debtors’ books and records and does not reflect any
         admission or conclusion of the Debtors regarding whether such amount would be allowed
         as a Claim or how such obligations may be classified and/or characterized in a plan of
         reorganization or by the Bankruptcy Court. The Debtors reserve all rights with respect to
         such obligations.

16.      Intellectual Property Rights. Exclusion of certain intellectual property shall not be
         construed to be an admission that such intellectual property rights have been abandoned,
         have been terminated or otherwise expired by their terms, or have been assigned or
         otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
         inclusion of certain intellectual property shall not be construed to be an admission that such
         intellectual property rights have not been abandoned, have not been terminated or otherwise
         expired by their terms, or have not been assigned or otherwise transferred pursuant to a sale,
         acquisition, or other transaction. The Debtors have made significant efforts to attribute
         intellectual property to the rightful Debtor owner. Accordingly, the Debtors reserve all
         rights with respect to the legal status of any and all such intellectual property rights.

17.      Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
         contracts or unexpired leases as assets in the Schedules and Statements. Instead, the
         Debtors’ executory contracts and unexpired leases have been set forth in Schedule G. In
         addition, while the Debtors have made diligent attempts to properly identify all executory
         contracts and unexpired leases, inadvertent errors, omissions, or over-inclusion may have
         occurred.

18.      Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
         “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
         given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
         does not constitute an admission by the Debtors that such amount is not “disputed,”
         “contingent,” or “unliquidated” or that such Claim is not subject to objection. The Debtors
         reserve all rights to dispute any Claim reflected on their respective Schedules and

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         Statements on any grounds, including, without limitation, liability or classification, or to
         otherwise subsequently designate such Claims as “disputed,” “contingent,” or
         “unliquidated.” In addition, the Debtors reserve their rights to object to any listed Claim on
         the grounds that, among other things, the Claim has already been satisfied.

19.      Causes of Action. Despite their reasonable efforts, the Debtors may not have listed all
         causes of action or potential causes of action against third parties as assets in the Schedules
         and Statements, including, without limitation, avoidance actions arising under chapter 5 of
         the Bankruptcy Code and actions under other relevant non-bankruptcy laws to recover
         assets. The Debtors reserve all of their rights for any claims, causes of action, or avoidance
         actions they may have, and neither these Global Notes nor the Schedules and Statements
         shall be deemed a waiver of any such claims, causes of actions, or avoidance actions or in
         any way prejudice or impair the assertion of such claims.

20.      Undetermined Amounts. Claim amounts that could not readily be quantified by the
         Debtors are scheduled as “unknown,” “TBD,” or “undetermined”. The description of an
         amount as “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the
         materiality of such amount.

21.      Liens. Property and equipment listed in the Schedules and Statements are presented without
         consideration of any liens that may attach (or have attached) to such property or equipment.

22.      Employee Addresses. Current employee, former employee, and director addresses have
         been removed from entries listed throughout the Schedules and Statements, where
         applicable.

23.      Estimates. To prepare and file the Schedules as close to the Petition Date as possible,
         management was required to make certain estimates and assumptions that affected the
         reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the
         reported amounts of assets and liability to reflect changes in those estimates or assumptions.

24.      Credits and Adjustments. The claims of individual creditors for, among other things,
         goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
         and records and may not reflect credits, allowances, or other adjustments due from such
         creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
         allowances, and other adjustments, including the right to assert claims objections and/or
         setoffs with respect to the same.

25.      Setoffs. The Debtors incur certain setoffs and other similar rights during the ordinary
         course of business. Offsets in the ordinary course can result from various items,
         including, without limitation, intercompany transactions, pricing discrepancies, returns,
         warranties, filebacks, negotiations and/or disputes between the Debtors and their vendors
         and customers. These offsets and other similar rights are consistent with the ordinary
         course of business in the Debtors’ industry and are not tracked separately. Therefore,
         although such offsets and other similar rights may have been accounted for when certain



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         amounts were included in the Schedules, offsets are not independently accounted for, and
         as such, are excluded from the Schedules.

26.      Global Notes Control. In the event that the Schedules and Statements differ from these
         Global Notes, the Global Notes shall control.

27.      Confidentiality: There may be instances in the Schedules and Statements where the
         Debtors have deemed it necessary and appropriate to redact from the public record
         information such as names, addresses, or amounts. Typically, the Debtors have used this
         approach because of an agreement between the Debtors and a third party, concerns of
         confidentiality, or concerns for the privacy of, or otherwise preserving the confidentiality
         of, personally identifiable information.

                          General Disclosures Applicable to Schedules

28.      Classifications. Listing a Claim (a) on Schedule D as “secured,” (b) on Schedule E/F as
         “priority,” or (c) on Schedule E/F as “unsecured,” or a contract on Schedule G as
         “executory” or “unexpired,” does not in each case constitute an admission by the Debtors
         of the legal rights of the claimant, or a waiver of the Debtors’ rights to recharacterize or
         reclassify such Claim or contract.

29.      Schedule A/B - Real and Personal Property.

         a)     Schedule A/B. All values set forth in Schedule A/B reflect the book value of the
                Debtors’ assets as of the Petition Date unless otherwise noted below.

         b)     Schedule A/B.3. Bank account balances are as of the end of business on Petition
                Date.

         c)     Schedule A/B.11. Accounts Receivable balances are as of the end of business on
                April 20, 2023 and do not include Intercompany balances.

         d)     Schedule A/B.15. Equity interests in subsidiaries and affiliates arise from common
                stock ownership. For purposes of these Schedules, the value of the Debtors’
                interests is undetermined. The book values of certain assets may materially differ
                from their fair market values and/or the liquidation of the assets prepared in
                connection with the Disclosure Statement.

         e)     Schedule A/B. Parts 5, 7, 8, and 9.
                a. An external or professional valuation of the Debtors’ physical goods inventory
                   has not been taken.
                b. Dollar amounts are presented net of accumulated depreciation and other
                   adjustments as of April 20, 2023.

         f)     Schedule A/B 60-64. Intellectual property is listed in Schedule A/B 60-64 as an
                undetermined amount on account of the fact that the fair market value of such
                ownership is dependent on numerous variables and factors and may differ

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                significantly from its net book value. Nothing herein or in the Schedules and
                Statements shall be construed as an admission or acknowledgment by the Debtors
                that any particular intellectual property is not transferable either pursuant to its
                terms or pursuant to provisions of the Bankruptcy Code or has no market value, and
                the Debtors reserve all rights with respect to any such issues.

         g)     Schedule A/B 72. Interests in Net Operating Losses (“NOLs”). Certain of the
                Debtors may have the ability to take advantage of NOLs, which amounts may be
                accumulated for more than one tax year. For combined or consolidated returns, the
                value of NOLs is reported at the parent level. The Debtors may have the ability to
                claim NOLs for subsequent years, but such amounts are estimates.

         h)     Schedule A/B 74/75. The Debtors’ failure to list any contingent and/or unliquidated
                claim held by the Debtors in response to this question shall not constitute a waiver,
                release, relinquishment, or forfeiture of such claim. In the ordinary course of its
                business, the Debtors may have accrued, or may subsequently accrue, certain rights
                to counter-Claims, setoffs, refunds or potential warranty Claims against its
                suppliers. Additionally, the Debtors may be a party to pending litigation in which
                the Debtors have asserted, or may assert, Claims as a plaintiff or counter-Claims as
                a defendant. Because such Claims are unknown to the Debtors and not quantifiable
                as of the Petition Date, they are not listed on Schedule A/B 74/75.

         i)     Schedule A/B73. Interests in Insurance Policies or Annuities. A list of the Debtors’
                insurance policies and related information is available in the Debtors’ Motion
                Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay
                Their Obligations Under Insurance Policies Entered Into Prepetition and (B)
                Renew, Supplement, Modify, or Purchase Insurance Coverage and (III) Granting
                Related Relief [Docket No. 10]. The Debtors believe that there is little or no cash
                value to the vast majority of such insurance policies. Accordingly, such policies are
                not listed on Schedule A/B, Part 11. All current insurance policies are listed in
                response to Schedule A/B 73.

30.      Schedule D - Creditors Holding Secured Claims. The Claims listed on Schedule D arose
         or were incurred on various dates; a determination of the date upon which each Claim arose
         or was incurred would be unduly burdensome and cost prohibitive. Accordingly, not all
         such dates are included for each Claim. All Claims listed on Schedule D, however, appear
         to have arisen or have been incurred before April 21, 2023.

         Except as otherwise ordered by the Bankruptcy Court, the Debtors reserve their rights to
         dispute or challenge the validity, perfection or immunity from avoidance of any lien
         purported to be granted or perfected in any specific asset for the benefit of a secured
         creditor listed on a Debtors’ Schedule D. Moreover, although the Debtors may have
         scheduled Claims of various creditors as secured Claims, the Debtors reserve all rights to
         dispute or challenge the secured nature of any such creditor’s Claim or the characterization
         of the structure of any such transaction or any document or instrument (including without
         limitation, any intercompany agreement) related to such creditor’s Claim. To that end, the


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         Debtors take no position as to the extent or priority of any particular creditor’s lien in the
         Schedules and Statements.

         The descriptions provided in Schedule D are intended only to be a summary. Reference to
         the applicable loan documents is necessary for a complete description of the collateral and
         the nature, extent and priority of any liens. Nothing in these Notes or the Schedules and
         Statements shall be deemed a modification or interpretation of the terms of such
         agreements.

         Except as otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy
         Court, the Debtors reserve their rights to dispute or challenge the validity, perfection, or
         immunity from avoidance of any lien purported to be granted or perfected in any specific
         asset of a secured creditor listed on Schedule D. Moreover, although the Debtors have
         scheduled Claims of various creditors as secured Claims, the Debtors reserve all of their
         rights to dispute or challenge the secured nature of any such creditor’s Claim or the
         characterization of the structure of any such transaction or any document or instrument
         related to such creditor’s Claim. Further, while the Debtors have included the results of
         Uniform Commercial Code searches, the listing of such results is not, nor shall it be deemed,
         an admission as to the validity of any such lien. The descriptions provided in Schedule D are
         solely intended to be a summary and not an admission of liability. The Debtors have made
         reasonable, good faith efforts to include all known liens on Schedule D but may have
         inadvertently omitted to include an existing lien because of, among other things, the
         possibility that a lien may have been imposed after the Uniform Commercial Code searches
         were performed or a vendor may not have filed the requisite perfection documentation.

         Except as specifically stated on Schedule D, real property lessors, utility companies, and
         other parties that may hold security deposits have not been listed on Schedule D. The
         Debtors reserve all rights to amend Schedule D to the extent that the Debtors determine
         that any Claims associated with such agreements should be reported on Schedule D.

         Moreover, the Debtors have not included on Schedule D parties that may believe their
         Claims are secured through setoff rights or inchoate statutory lien rights.

31.      Schedule E/F— Creditors Holding Unsecured Claims. The Bankruptcy Court has
         authorized the Debtors, in their discretion, to pay certain liabilities that may be entitled to
         priority under the applicable provisions of the Bankruptcy Code. Further, on May 16,
         2023, the Bankruptcy Court entered the Final Order (I) Authorizing the Debtors to (A) Pay
         Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses and (B)
         Continue Certain Employee Benefits Programs and (II) Granting Related Relief [Docket
         No. 114], authorizing the Debtor to pay or honor certain prepetition obligations with
         respect to employee wages and other compensation, reimbursable employee expenses and
         similar benefits. Also on May 16, 2023, the Bankruptcy Court entered the Final Order (I)
         Authorizing the Payment of Certain Prepetition Taxes and Fees and (II) Granting Related
         Relief [Docket No. 113].

         The Debtors have used reasonable efforts to report all general unsecured Claims against
         the Debtors on Schedule E/F based upon the Debtors’ existing books and records as of the

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         Petition Date; however, inadvertent errors or omissions may have occurred. The Claims
         listed on Schedule E/F arose or were incurred on various dates. In certain instances, the
         date on which a Claim arose is an open issue of fact. In addition, the Claims of individual
         creditors for, among other things, goods or services are listed as either the lower of the
         amounts invoiced by such creditor or the amounts entered on the Debtors’ books and
         records and may not reflect credits, rebates, or allowances due from such creditors to the
         Debtors. The Claims and amounts listed in respect of certain trade payables reflect amounts
         owed as of the Petition Date.

         The Debtors may pay additional Claims listed on Schedule E/F during the chapter 11 cases
         pursuant to orders of the Bankruptcy Court, and reserve all rights to update Schedule E/F
         to reflect such payments. In addition, certain Claims listed on Schedule E/F may be entitled
         to priority under section 503(b)(9) of the Bankruptcy Code.

         Schedule E/F also contains information regarding pending litigation involving the Debtors.
         The dollar amount of potential Claims associated with any such pending litigation is listed
         as “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
         and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
         subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F also includes
         potential or threatened legal disputes that are not formally recognized by an administrative,
         judicial, or other adjudicative forum due to certain procedural conditions that
         counterparties have yet to satisfy.

32.      Schedule G — Executory Contracts and Unexpired Leases. While reasonable efforts
         have been made to ensure the accuracy of Schedule G, the Debtors’ business is complex,
         and inadvertent errors, omissions, or overinclusion may have occurred. Each lease and
         contract listed in Schedule G may include one or more ancillary documents, including any
         underlying assignment and assumption agreements, amendments, supplements, full and
         partial assignments, renewals and partial releases, which may not be listed on Schedule G.
         Certain of the leases and contracts listed on Schedule G may contain certain renewal
         options, guarantees of payment, options to purchase, rights of first refusal, and other
         miscellaneous rights. Such rights, powers, duties, and obligations are not set forth on
         Schedule G. In addition, the Debtors may have entered into various other types of
         agreements in the ordinary course of business, such as financing agreements, indemnity
         agreements, subordination, non-disturbance agreements, supplemental agreements,
         amendments/letter agreements, title agreements, and confidentiality agreements. Such
         documents may not be set forth on Schedule G. Certain of the executory contracts may not
         have been memorialized in writing and could be subject to dispute.

         The Debtors reserve all rights to dispute the validity, status, or enforceability of any
         contracts, agreements, or leases set forth in Schedule G and to amend or supplement such
         Schedule as necessary. Omission of a contract or agreement from Schedule G does not
         constitute an admission that such omitted contract or agreement is not an executory contract
         or unexpired lease. Likewise, inclusion of any agreement on Schedule G does not constitute
         an admission that such agreement is an executory contract or unexpired lease, or that such
         agreement was in effect on the Petition Date or is valid and enforceable, and the Debtors
         reserves all rights in that regard, including without limitation the right to assert that any

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         agreement is not executory, has expired pursuant to its terms, is severable in whole or in
         part, or was terminated prepetition.

33.      Schedule H — Co-debtors. Although the Debtors have made every effort to ensure the
         accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have occurred.
         The Debtors hereby reserve all rights to dispute the validity, status, and enforceability of
         any obligations set forth on Schedule H and to further amend or supplement such Schedule
         as necessary.

         The Debtors further reserve all rights, claims, and causes of action with respect to the
         obligations listed on Schedule H, including the right to dispute or challenge the
         characterization or the structure of any transaction, document, or instrument related to a
         creditor’s claim. The listing of a contract, guarantee, or other obligation on Schedule H
         shall not be deemed an admission that such obligation is binding, valid, or enforceable.

         In the ordinary course of its business, the Debtors are involved in pending or threatened
         litigation and claims arising out of the conduct of its business. These matters may involve
         multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
         counterclaims against other parties. Because such claims are listed elsewhere in the
         Statements and Schedules, they may not have been set forth individually on Schedule H.

         Schedule H also reflects guarantees by the Debtors. The Debtors may not have identified
         certain guarantees that are embedded in the Debtors’ executory contracts, unexpired leases,
         debt instruments, and other such agreements. Thus, the Debtors reserve their right, but shall
         not be required, to amend the Schedules to the extent that additional guarantees are
         identified, or such guarantees are discovered to have expired or are unenforceable.

                          General Disclosures Applicable to Statements

34.      Questions 1 and 2. The gross revenue and non-business revenue reported for the current
         fiscal year are through April 20, 2023.

35.      Question 3 and 4. For certain creditors receiving payment, the Debtors maintain multiple
         addresses for such vendor. Efforts have been made to attribute the correct address, however,
         in certain instances, alternate addresses may be applicable for a party listed in response to
         Question 3.

         Question 3. Question 3 includes any disbursement or other transfer made by the Debtors
         except for those made to employees.

         For purposes of the Schedules and Statements, the Debtors define insiders as individuals
         that, based upon the totality of circumstances, have a controlling interest in, or exercise
         sufficient control over the Debtors so as to dictate corporate policy and the disposition of
         assets. The Debtors do not take any position with respect to (a) such person’s influence
         over the control of the Debtors; (b) the management responsibilities or functions of such
         individual; (c) the decision-making or corporate authority of such individual; or (d)
         whether such individual could successfully argue that he or she is not an “insider” under

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         applicable law, including the federal securities law, or with respect to any theories of
         liability or any other purpose. As such, the Debtors reserve all rights to dispute whether
         someone identified in response to Question 4 is in fact an “insider” as defined in section
         101(31) of the Bankruptcy Code.

36.      Question 7. The Debtors reserve all rights and defenses with respect to any and all listed
         lawsuits and administrative proceedings. The listing of any such suits and proceedings shall
         not constitute an admission by the Debtors of any liabilities or that the actions or
         proceedings were correctly filed against the Debtors. The Debtors also reserve their rights
         to assert that a Debtor is not an appropriate party to such actions or proceedings.

37.      Question 10. The Debtors have made best efforts to collect applicable and responsive
         information however, certain de minimis losses, which are not tracked separately, may have
         been omitted.

38.      Question 11. Certain of the payments listed may have been paid for services outside of
         debt consolidation, restructuring or bankruptcy relief.

39.      Question 13. While the Debtors have made reasonable efforts to respond comprehensively
         to Question 13, certain de minimis asset sales and transfers may be omitted unintentionally.

40.      Question 26d. The Debtors have supplied financial statements and reports in the ordinary
         course of business to certain third parties under confidentiality agreements. Such third
         parties include restructuring professionals, administrative agents under the Debtors’ debt
         facilities, and certain other creditors and their advisors and potential purchasers under the
         Debtors’ sale process.

41.      Question 27. The company performs a full physical count at least once a year, no more
         than 30 days before year end close, for all inventory items, including finished goods, work
         in process, raw materials, samples, and maintenance, repair, and operating inventory.
         Additionally, each item of stock, covered by the approved Inventory Cycle Counting
         Program, must be counted at least twice annually, and achieve a 97% accuracy rate over at
         least 6 months. The company’s basis for inventory value is FIFO, Lower of Cost or Net
         Realizable Value.

42.      Question 30. For this question, please reference Statement of Financial Affairs, Question
         4.




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Fill in this information to identify the case:

Debtor Name: In re : Structurlam Mass Timber Corporation

United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                                             Check if this is an
Case number (if known): 23-10499 (CTG)                                                                                                                                                       amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                            12/15


Part 1:        Summary of Assets

1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                        $                  0.00
     1a. Copy line 88 from Schedule A/B ...........................................................................................................................


     1b. Total personal property:
                                                                                                                                                                                        $         32,519,069.43
     1b. Copy line 91A from Schedule A/B ..........................................................................................................................


     1c. Total of all property:
                                                                                                                                                                                        $         32,519,069.43
     1c. Copy line 92 from Schedule A/B .............................................................................................................................



Part 2:       Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                        $         49,057,696.96
     Copy the total dollar amount listed in Column A, Amount of claim,from line 3 of Schedule D .....................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                        $             10,925.98
     3a. Copy the total claims from Part 1 from line 5a of Schedule E/F ............................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        +$        19,758,970.99
     3b. Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .................................................


4. Total liabilities
                                                                                                                                                                                        $         68,827,593.93
     Lines 2 + 3a + 3b ..............................................................................................................................................................




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                              Page 1 of 1
                                   Case 23-10499-CTG                      Doc 5      Filed 05/22/23                 Page 15 of 192


Fill in this information to identify the case:

Debtor Name: In re : Structurlam Mass Timber Corporation

United States Bankruptcy Court for the: District of Delaware
                                                                                                                                      Check if this is an
Case number (if known): 23-10499 (CTG)                                                                                                amended filing


Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.



For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.




Part 1:       Cash and cash equivalents

   1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
      5 Yes. Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                         Current value of debtor’s interest


   2. Cash on hand

              2.1 Petty Cash                                                                                                $                         785.83


   3. Checking, savings, money market, or financial brokerage accounts (Identify all)
      Name of institution (bank or brokerage firm)             Type of account    Last 4 digits of account number

              3.1 BMO                                          Checking           6086                                      $                       27,232.98

              3.2 BMO                                          Checking           6375                                      $                            0.00

              3.3 BMO Harris                                   Checking           2447                                      $                       10,622.56


   4. Other cash equivalents (Identify all)

             4.1 None                                                                                                        $


  5. Total of Part 1
                                                                                                                            $                      38,641.37
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.




Official Form 206 A/B                            Schedule A/B: Assets - Real and Personal Property                                              Page 1 of 13
                                  Case 23-10499-CTG                 Doc 5        Filed 05/22/23           Page 16 of 192
  Debtor:    Structurlam Mass Timber Corporation                                                       Case number (if known):       23-10499
              Name


Part 2:     Deposits and prepayments
  6. Does the debtor have any deposits or prepayments?
          No. Go to Part 3.
    5 Yes. Fill in the information below.

                                                                                                                             Current value of debtor’s interest

 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
             7.1 OK Falls Security Deposit, Swayback Holdings Ltd., 402 Warren Ave. East, Penticton, BC, Canada, V2A 3M2     $                      113,163.00

             7.2 Wallis Security Deposit, Eagle Homes Sales LTD., 1190 - 51 Street NE, Salmon Arm, BC, Canada, V1E 1Y1       $                       26,119.40


  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
             8.1 None                                                                                                        $


9. Total of Part 2.
    Add lines 7 through 8. Copy the total to line 81.                                                                            $                  139,282.40




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                               Page 2 of 13
                                    Case 23-10499-CTG                   Doc 5          Filed 05/22/23            Page 17 of 192
   Debtor:    Structurlam Mass Timber Corporation                                                             Case number (if known):      23-10499
               Name

Part 3:      Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
     5 Yes. Fill in the information below.
                                                                                                                                             Current value of debtor’s
                                                                                                                                             interest

11. Accounts receivable
                                    Description          face amount                    doubtful or uncollectible accounts
    11a.     90 days old or less:   Trade receivables    $              7,035,307.00    -$                    725,999.00        =..... Î     $               6,309,308.00



    11b.     Over 90 days old:      Trade receivables    $              2,831,073.00    -$                  1,948,306.00        =..... Î     $                882,767.00


12. Total of Part 3.
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                                  $              7,192,075.00




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                      Page 3 of 13
                                   Case 23-10499-CTG                  Doc 5      Filed 05/22/23        Page 18 of 192
  Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):           23-10499
              Name


Part 4:       Investments

13. Does the debtor own any investments?

    5 No. Go to Part 5.
          Yes. Fill in the information below.
                                                                                              Valuation method used
                                                                                                                    Current value of debtor’s interest
                                                                                              for current value

14. Mutual funds or publicly traded stocks not included in Part 1

    Name of fund or stock:

                                                                                                                              $



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture
    Name of entity:                                                    % of ownership:

                                                                                                                              $



16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

                                                                                                                                  $


17. Total of Part 4.
    Add lines 14 through 16. Copy the total to line 83.                                                                       $                           0.00




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                                Page 4 of 13
                                      Case 23-10499-CTG               Doc 5      Filed 05/22/23             Page 19 of 192
  Debtor:     Structurlam Mass Timber Corporation                                                        Case number (if known):   23-10499
                 Name


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
            No. Go to Part 6.
     5 Yes. Fill in the information below.

                                                                            Net book value of debtor's
                                                       Date of the last                                      Valuation method used          Current value of debtor’s
     General description                                                    interest
                                                       physical inventory                                    for current value              interest
                                                                            (Where available)

19. Raw materials
                 19.1 Raw materials                    Continuous count     $             3,151,000.00       Activity based costing         $              3,151,000.00


20. Work in progress
                 20.1 Work in progress                  Continuous count    $             5,021,000.00       Activity based costing         $              5,021,000.00


21. Finished goods, including goods held for resale
                 21.1 Finished goods                    Continuous count    $            3,468,000.00       Activity based costing          $              3,468,000.00


22. Other inventory or supplies
                 22.1 None                                                   $                                                              $


 23. Total of Part 5.
     Add lines 19 through 22. Copy the total to line 84.                                                                                $                11,640,000.00


24. Is any of the property listed in Part 5 perishable?
     5 No
            Yes


25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
     5      Yes.               Raw
                               Materials,
                               Work in
                               Progress and
                               Finished
                   Description Goods          Book value $        Undetermined     Valuation method                        Current value $                Undetermined

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     5 No
            Yes




Official Form 206 A/B                          Schedule A/B: Assets - Real and Personal Property                                                    Page 5 of 13
                                  Case 23-10499-CTG                     Doc 5         Filed 05/22/23           Page 20 of 192
   Debtor:   Structurlam Mass Timber Corporation                                                            Case number (if known):       23-10499
               Name


Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     5 No. Go to Part 7.
          Yes. Fill in the information below.

                                                                            Net book value of debtor's     Valuation method
     General description                                                    interest                       used for current           Current value of debtor’s interest
                                                                            (Where available)              value
 28. Crops—either planted or harvested
                                                                            $                                                         $


 29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                            $                                                         $


 30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                            $                                                         $


 31. Farm and fishing supplies, chemicals, and feed
                                                                            $                                                         $


 32. Other farming and fishing-related property not already listed in Part 6
                                                                            $                                                         $

 33. Total of Part 6.
     Add lines 28 through 32. Copy the total to line 85.                                                                              $                               0.00


 34. Is the debtor a member of an agricultural cooperative?
          No
          Yes. Is any of the debtor’s property stored at the cooperative?
                No
                Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
          No
          Yes. Description                      Book value $                            Valuation method                       Current value $




 36. Is a depreciation schedule available for any of the property listed in Part 6?
          No
          Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
          No
          Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                    Page 6 of 13
                                Case 23-10499-CTG                     Doc 5        Filed 05/22/23             Page 21 of 192
  Debtor:   Structurlam Mass Timber Corporation                                                            Case number (if known):   23-10499
            Name


 Part 7:    Office furniture, fixtures, and equipment; and collectibles
 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
       No. Go to Part 8.
     5Yes. Fill in the information below.

                                                                     Net book value of debtor's
                                                                                                       Valuation method used for          Current value of debtor’s
     General description                                             interest
                                                                                                       current value                      interest
                                                                     (Where available)
 39. Office furniture

             39.1 Office Furniture                                   $                     20,590.90                                      $            Undetermined


 40. Office fixtures

             40.1 Office Fixtures                                    $                     54,846.18                                      $            Undetermined


 41. Office equipment, including all computer equipment and
     communication systems equipment and software

             41.1 Computer Equipment                                 $                    104,328.14                                      $            Undetermined

             41.2 Computer Software                                  $                     26,249.58                                      $            Undetermined


 42. Collectibles Examples: Antiques and figurines; paintings,prints, or other artwork;
     books, pictures, or other art objects; china and crystal; stamp, coin, or baseball
     card collections; other collections, memorabilia, or collectibles

             42.1 None                                               $                                                                    $


 43. Total of Part 7.
     Add lines 39 through 42. Copy the total to line 86.                                                                                  $                       0.00


 44. Is a depreciation schedule available for any of the property listed in Part 7?
       No
     5Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     5No
       Yes




Official Form 206 A/B                        Schedule A/B: Assets - Real and Personal Property                                                     Page 7 of 13
                                  Case 23-10499-CTG                     Doc 5        Filed 05/22/23            Page 22 of 192
  Debtor:    Structurlam Mass Timber Corporation                                                            Case number (if known):           23-10499
              Name


Part 8:       Machinery, equipment, and vehicles
 46. Does the debtor own or lease any machinery, equipment, or vehicles?
            No. Go to Part 9.
      5 Yes. Fill in the information below.

     General description                                                Net book value of debtor's
                                                                        interest                        Valuation method used
                                                                                                                              Current value of debtor’s interest
     Include year, make, model, and identification numbers (i.e.,                                       for current value
     VIN, HIN, or N-number)                                             (Where available)

 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                 47.1 See Schedule A/B 47 Attachment                    $                   13,028.18                                     $               Undetermined



 48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
     floating homes, personal watercraft, and fishing vessels
                 48.1 None                                          $                                                                 $


  49. Aircraft and accessories
                 49.1 None                                          $                                                                 $


 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
                 50.1 See Schedule A/B 50 Attachment                $                4,409,489.39                                     $                   Undetermined



 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.                                                                         $                               0.00


 52. Is a depreciation schedule available for any of the property listed in Part 8?
            No
      5 Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      5 No
            Yes




Official Form 206 A/B                         Schedule A/B: Assets - Real and Personal Property                                                          Page 8 of 13
                                   Case 23-10499-CTG                      Doc 5        Filed 05/22/23              Page 23 of 192
   Debtor:    Structurlam Mass Timber Corporation                                                              Case number (if known):   23-10499
               Name

Part 9:      Real property
 54.    Does the debtor own or lease any real property?
          No. Go to Part 10.
        5Yes. Fill in the information below.

55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

        Description and location of property
                                                                                           Net book value of
        Include street address or other description such as           Nature and extent of                                   Valuation method   Current value of
                                                                                           debtor's interest
        Assessor Parcel Number (APN), and type of property (for       debtor’s interest in                                   used for current   debtor’s interest
        example, acreage, factory, warehouse, apartment or office     property                                               value
                                                                                           (Where available)
        building), if available.

               55.1 See Schedule A/B 55 Attachment                                             $          920,917.96                            $       Undetermined


56. Total of Part 9.
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.                      $                   0.00


57.     Is a depreciation schedule available for any of the property listed in Part 9?`
          No
        5Yes

58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        5No
          Yes




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                                       Page 9 of 13
                                Case 23-10499-CTG                  Doc 5        Filed 05/22/23            Page 24 of 192
  Debtor:   Structurlam Mass Timber Corporation                                                        Case number (if known):   23-10499
            Name



Part 10:    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
      No. Go to Part 11.
     Yes. Fill in the information below.
    5

                                                                       Net book value of debtor's                             Current value of debtor’s
                                                                       interest                        Valuation method
    General description                                                                                                       interest
                                                                       (Where available)               used for current value

60. Patents, copyrights, trademarks, and trade secrets
            60.1 See Schedule A/B 60 Attachment                        $                       0.00                              $           Undetermined


61. Internet domain names and websites
            61.1 See Schedule A/B 61 Attachment                        $                       0.00                               $          Undetermined


62. Licenses, franchises, and royalties
            62.1 None                                                  $                                                          $


63. Customer lists, mailing lists, or other compilations
            63.1 None                                                  $                                                          $


64. Other intangibles, or intellectual property
            64.1 None                                                  $                                                          $


65. Goodwill
            65.1 Goodwill                                              $               3,109,215.00                               $          Undetermined


66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                           $                   0.00


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    5No
      Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
      No
    5Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    5No
      Yes




Official Form 206 A/B                        Schedule A/B: Assets - Real and Personal Property                                              Page 10 of 13
                                    Case 23-10499-CTG                    Doc 5         Filed 05/22/23              Page 25 of 192
   Debtor:   Structurlam Mass Timber Corporation                                                               Case number (if known):       23-10499
              Name


Part 11:      All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
      No. Go to Part 12.
    5Yes. Fill in the information below.

                                                                                                                                         Current value of debtor’s
                                                                                                                                         interest




71. Notes receivable
     Description (include name of obligor)                 Total face amount            doubtful or uncollectible accounts
             71.1 See Schedule A/B 71 Attachment           $              671,641.81    -$                                   =.....   Î $                   671,641.81


72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
             72.1 Colorado Department of Revenue                                          Tax year July 2022                             $                     2,200.00

     Description (for example, federal, state, local)
             72.2 Minnesota Department of Revenue                                         Tax year December 2021                         $                     9,109.00

     Description (for example, federal, state, local)
             72.3 Pennsylvania Department of Revenue                                      Tax year June 2021                             $                    10,327.99


73. Interests in insurance policies or annuities
             73.1 See Schedule A/B 73 Attachment                                                                                         $                Undetermined



74. Causes of action against third parties (whether or not a lawsuit
     has been filed)
             74.1 Structurlam Mass Timber Corporation v Larocque, James                                                                  $                Undertermined

                  Nature of claim                               Overpaid employee wages

                  Amount requested                         $                                 5,223.88



 75. Other contingent and unliquidated claims or causes of action of
     every nature, including counterclaims of the debtor and rights to
     set off claims
             75.1 None                                                                                                                   $

                  Nature of claim

                  Amount requested                          $



76. Trusts, equitable or future interests in property
             76.1 None                                                                                                                   $


77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
             77.1 Intercompany - Structurlam Mass Timber (US), Inc.                                                                      $                 12,815,791.86


 78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.                                                                                 $                13,509,070.66




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                     Page 11 of 13
                                Case 23-10499-CTG                 Doc 5        Filed 05/22/23             Page 26 of 192
  Debtor:   Structurlam Mass Timber Corporation                                                        Case number (if known):   23-10499
             Name

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    5No
      Yes




Official Form 206 A/B                        Schedule A/B: Assets - Real and Personal Property                                              Page 12 of 13
                                            Case 23-10499-CTG                                 Doc 5            Filed 05/22/23                 Page 27 of 192
     Debtor:     Structurlam Mass Timber Corporation                                                                                       Case number (if known):       23-10499
                  Name



Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                                                Current value of                         Current value of real
                                                                                                      personal property                        property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                $                  38,641.37

81. Deposits and prepayments. Copy line 9, Part 2.                                                    $                139,282.40

82. Accounts receivable. Copy line 12, Part 3.                                                        $              7,192,075.00

83. Investments. Copy line 17, Part 4.                                                                $                         0.00

84. Inventory. Copy line 23, Part 5.                                                                  $            11,640,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                         $                         0.00

86. Office furniture, fixtures, and equipment; and collectibles.                                      $                         0.00
      Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                         $                         0.00

88. Real property. Copy line 56, Part 9.............................................................................................Î          $                         0.00


89. Intangibles and intellectual property. Copy line 66, Part 10.                                     $                         0.00

90. All other assets. Copy line 78, Part 11.                                                          $            13,509,070.66

                                                                                                      $             32,519,069.43
91. Total. Add lines 80 through 90 for each column...............................91a.                                                   + 91b. $                         0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................................    $       32,519,069.43




 Official Form 206 A/B                                       Schedule A/B: Assets - Real and Personal Property                                                                      Page 13 of 13
                                           Case 23-10499-CTG                      Doc 5         Filed 05/22/23            Page 28 of 192


 Fill in this information to identify the case:

 Debtor Name: In re : Structurlam Mass Timber Corporation

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                          Check if this is an
 Case number (if known): 23-10499 (CTG)                                                                                                                   amended filing


 Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15

 Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor’s property?
          No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
   5 Yes. Fill in all of the information below.

Part 1:        List Creditors Who Have Secured Claims


2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                               Column A
                                                                                                                                                                Column B
   secured claim, list the creditor separately for each claim.                                                                     Amount of claim
                                                                                                                                                                Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                                supports this claim
                                                                                                                                   value of collateral.

       2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien

             ATCO Structures & Logistics Ltd.                           As Described in the PPSA Security Agreement            $                            $
             Creditor's Name

             Creditor’s mailing address
                                                                        Describe the lien
             Notice Name                                                PPSA #376669L
             24639 Fraser Hwy
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             Langley Twp            BC                 V2Z 2L2              Yes
             City                  State               ZIP Code
             Canada
             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                         5    No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               3/18/2019

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                        5 Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?                                             5
                                                                        5    Disputed
             5        No
                      Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                          Page 1 of 27
                                           Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 29 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                   Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                               Column B
             the previous page.                                                                                                    Amount of claim
                                                                                                                                                               Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                               supports this claim
                                                                                                                                   value of collateral.


          2.2 Creditor’s name                                           Describe debtor’s property that is subject to a lien

             ATCO Structures & Logistics Ltd.                           As Described in the PPSA Security Agreement            $                           $
             Creditor's Name

             Creditor’s mailing address
                                                                        Describe the lien
             Notice Name                                                PPSA #111237M
             24639 Fraser Hwy
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             Langley Twp            BC                 V2Z 2L2              Yes
             City                  State               ZIP Code
             Canada
             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                         5    No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               3/10/2020

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                        5 Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?                                             5
                                                                        5    Disputed
              5       No
                      Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 2 of 27
                                           Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 30 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                   Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                               Column B
             the previous page.                                                                                                    Amount of claim
                                                                                                                                                               Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                               supports this claim
                                                                                                                                   value of collateral.


          2.3 Creditor’s name                                           Describe debtor’s property that is subject to a lien

             Bank of Montreal                                           Substanially all debtor's assets                       $          49,057,696.96    $           Undetermined
             Creditor's Name

             Creditor’s mailing address
                                                                        Describe the lien
             Notice Name                                                As described in the Credit Agreement, as amended
             600-595 Burrard Street
             Street

                                                                        Is the creditor an insider or related party?
                                                                            No
             Vancouver              BC                 V7X 1L5          5 Yes
             City                  State               ZIP Code
             Canada
             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                              No
                                                                        5    Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               12/21/2017

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                             Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?
                                                                             Disputed
              5       No
                      Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 3 of 27
                                           Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 31 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                   Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                               Column B
             the previous page.                                                                                                    Amount of claim
                                                                                                                                                               Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                               supports this claim
                                                                                                                                   value of collateral.


          2.4 Creditor’s name                                           Describe debtor’s property that is subject to a lien

             BMW Canada Inc.                                            As Described in the PPSA Security Agreement            $                           $
             Creditor's Name

             Creditor’s mailing address
                                                                        Describe the lien
             Notice Name                                                PPSA #819388L
             50 Ultimate Drive
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             Richmond Hill          ON                 L4S 0C8              Yes
             City                  State               ZIP Code
             Canada
             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                         5    No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               10/9/2019

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                        5 Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?                                             5
                                                                        5    Disputed
              5       No
                      Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 4 of 27
                                           Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 32 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                   Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                               Column B
             the previous page.                                                                                                    Amount of claim
                                                                                                                                                               Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                               supports this claim
                                                                                                                                   value of collateral.


          2.5 Creditor’s name                                           Describe debtor’s property that is subject to a lien

             BMW Canada Inc.                                            As Described in the PPSA Security Agreement            $                           $
             Creditor's Name

             Creditor’s mailing address
                                                                        Describe the lien
             Notice Name                                                PPSA #565693N
             50 Ultimate Drive
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             Richmond Hill          ON                 L4S 0C8              Yes
             City                  State               ZIP Code
             Canada
             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                         5    No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               3/1/2022

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                        5 Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?                                             5
                                                                        5    Disputed
              5       No
                      Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 5 of 27
                                           Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 33 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                   Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                               Column B
             the previous page.                                                                                                    Amount of claim
                                                                                                                                                               Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                               supports this claim
                                                                                                                                   value of collateral.


          2.6 Creditor’s name                                           Describe debtor’s property that is subject to a lien

             Cisco Systems Capital Canada                               As Described in the PPSA Security Agreement            $                           $
             Creditor's Name

             Creditor’s mailing address
                                                                        Describe the lien
             Notice Name                                                PPSA #899157N
             181 Bay St Ste 3400 Bay Tower
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             Toronto                ON                 M5J 2T3              Yes
             City                  State               ZIP Code
             Canada
             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                         5    No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               8/3/2022

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                        5 Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?                                             5
                                                                        5    Disputed
              5       No
                      Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 6 of 27
                                           Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 34 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                   Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                               Column B
             the previous page.                                                                                                    Amount of claim
                                                                                                                                                               Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                               supports this claim
                                                                                                                                   value of collateral.


          2.7 Creditor’s name                                           Describe debtor’s property that is subject to a lien

             Ford Credit Canada Leasing                                 As Described in the PPSA Security Agreement            $                           $
             Creditor's Name

             Creditor’s mailing address
             Division of Canadian Road Leasing Company                  Describe the lien
             Notice Name                                                PPSA #653592L
             PO Box 2400
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             Edmonton               AB                 T5J 5C7              Yes
             City                  State               ZIP Code
             Canada
             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                         5    No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               7/23/2019

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                        5 Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?                                             5
                                                                        5    Disputed
              5       No
                      Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 7 of 27
                                           Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 35 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                   Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                               Column B
             the previous page.                                                                                                    Amount of claim
                                                                                                                                                               Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                               supports this claim
                                                                                                                                   value of collateral.


          2.8 Creditor’s name                                           Describe debtor’s property that is subject to a lien

             Jim Pattison Industries Ltd.                               As Described in the PPSA Security Agreement            $                           $
             Creditor's Name

             Creditor’s mailing address
                                                                        Describe the lien
             Notice Name                                                PPSA #4258/05M
             4937 Regent Street
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             Burnaby                BC                 V5C 4H4              Yes
             City                  State               ZIP Code
             Canada
             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                         5    No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               8/26/2020

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                        5 Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?                                             5
                                                                        5    Disputed
              5       No
                      Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 8 of 27
                                           Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 36 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                   Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                               Column B
             the previous page.                                                                                                    Amount of claim
                                                                                                                                                               Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                               supports this claim
                                                                                                                                   value of collateral.


          2.9 Creditor’s name                                           Describe debtor’s property that is subject to a lien

             Jim Pattison Industries Ltd.                               As Described in the PPSA Security Agreement            $                           $
             Creditor's Name

             Creditor’s mailing address
                                                                        Describe the lien
             Notice Name                                                PPSA #516532M
             4937 Regent Street
             Street

                                                                        Is the creditor an insider or related party?
                                                                        5 No
             Burnaby                BC                 V5C 4H4              Yes
             City                  State               ZIP Code
             Canada
             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                         5    No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               10/7/2020

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                        5 Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?                                             5
                                                                        5    Disputed
              5       No
                      Yes. Have you already specified the
                      relative priority?

                      5 No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 9 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 37 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.10 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Jim Pattison Industries Ltd.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #820285M
          4937 Regent Street
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Burnaby                  BC                 V5C 4H4              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 3/10/2021

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 10 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 38 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.11 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Jim Pattison Industries Ltd.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #119651N
          4937 Regent Street
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Burnaby                  BC                 V5C 4H4              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 7/19/2021

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 11 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 39 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.12 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Jim Pattison Industries Ltd.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #130995N
          4937 Regent Street
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Burnaby                  BC                 V5C 4H4              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 7/23/2021

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 12 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 40 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.13 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Jim Pattison Industries Ltd.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #414144N
          4937 Regent Street
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Burnaby                  BC                 V5C 4H4              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 12/7/2021

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 13 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 41 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.14 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Jim Pattison Industries Ltd.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #849354N
          4937 Regent Street
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Burnaby                  BC                 V5C 4H4              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 7/11/2022

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 14 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 42 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.15 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Jim Pattison Industries Ltd.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #179015P
          4937 Regent Street
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Burnaby                  BC                 V5C 4H4              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 11/2/2022

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 15 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 43 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.16 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Levitt Machinery Canada Inc.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #380104N
          102-19433 96th Avenue
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Surrey                   BC                 V4N 4C4              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 11/19/2021

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 16 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 44 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.17 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Levitt Machinery Canada Inc.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #491599N
          24389 Fraser Hwy
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Langley                  BC                 V2Z 2L3              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 1/21/2022

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 17 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 45 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.18 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Levitt Machinery Canada Inc.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #491602N
          24389 Fraser Hwy
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Langley                  BC                 V2Z 2L3              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 1/21/2022

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 18 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 46 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.19 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Levitt Machinery Canada Inc.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #715231L
          102-19433 96th Avenue
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Surrey                   BC                 V4N 4C4              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 8/21/2023

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 19 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 47 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.20 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Levitt Machinery Canada Inc.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #051907M
          102-19433 96th Avenue
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Surrey                   BC                 V4N 4C4              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 2/10/2024

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 20 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 48 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.21 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Levitt Machinery General Partnership                         As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #468471L
          24389 Fraser Hwy
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Langley Twp              BC                 V2Z 2L3              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 4/30/2019

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 21 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 49 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.22 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Levitt Machinery General Partnership                         As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #027845M
          24389 Fraser Hwy
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Langley Twp              BC                 V2Z 2L3              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 1/28/2020

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 22 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 50 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.23 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Meridian Onecap Credit Corp.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #134182L
          4710 Kingsway, Suite 1500
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Burnaby                  BC                 V5H 4M2              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 11/5/2018

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 23 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 51 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

          Copy this page only if more space is needed. Continue numbering the lines sequentially from                             Column A
                                                                                                                                                              Column B
          the previous page.                                                                                                      Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.24 Creditor’s name                                             Describe debtor’s property that is subject to a lien

          Meridian Onecap Credit Corp.                                 As Described in the PPSA Security Agreement            $                           $
          Creditor's Name

          Creditor’s mailing address
                                                                       Describe the lien
          Notice Name                                                  PPSA #428591N
          4710 Kingsway, Suite 1500
          Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
          Burnaby                  BC                 V5H 4M2              Yes
          City                    State               ZIP Code
          Canada
          Country                                                      Is anyone else liable on this claim?
          Creditor’s email address, if known                           5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
          Date debt was incurred                 12/14/2021

          Last 4 digits of account                                     As of the petition filing date, the claim is:
          number                                                       Check all that apply.
                                                                       5 Contingent
          Do multiple creditors have an interest in the                     Unliquidated
          same property?                                               5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 24 of 27
                                          Case 23-10499-CTG                      Doc 5         Filed 05/22/23             Page 52 of 192
    Debtor:       Structurlam Mass Timber Corporation                                                                  Case number (if known):     23-10499
                  Name

Part 1:       Additional Page

            Copy this page only if more space is needed. Continue numbering the lines sequentially from                           Column A
                                                                                                                                                              Column B
            the previous page.                                                                                                    Amount of claim
                                                                                                                                                              Value of collateral that
                                                                                                                                  Do not deduct the
                                                                                                                                                              supports this claim
                                                                                                                                  value of collateral.


      2.25 Creditor’s name                                             Describe debtor’s property that is subject to a lien

            New-Line Products Ltd                                      As Described in the PPSA Security Agreement            $                           $
            Creditor's Name

            Creditor’s mailing address
                                                                       Describe the lien
            Notice Name                                                PPSA #799714M
            9415 189 Street
            Street

                                                                       Is the creditor an insider or related party?
                                                                       5 No
            Surrey                 BC                 V4N 5L8              Yes
            City                  State               ZIP Code
            Canada
            Country                                                    Is anyone else liable on this claim?
            Creditor’s email address, if known                         5    No
                                                                            Yes. Fill out Schedule H: Codebtors(Official Form 206H).
            Date debt was incurred               3/1/2021

            Last 4 digits of account                                   As of the petition filing date, the claim is:
            number                                                     Check all that apply.
                                                                       5 Contingent
            Do multiple creditors have an interest in the                   Unliquidated
            same property?                                             5
                                                                       5    Disputed
              5      No
                     Yes. Have you already specified the
                     relative priority?

                     5 No. Specify each creditor, including this
                          creditor, and its relative priority.


                          Yes. The relative priority of creditors is
                          specified on lines




          3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
            Page, if any.                                                                                                     $          49,057,696.96




 Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        Page 25 of 27
                                 Case 23-10499-CTG                    Doc 5        Filed 05/22/23            Page 53 of 192


Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1


  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
  agencies, assignees of claims listed above, and attorneys for secured creditors.

  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1      Last 4 digits of
  Name and address                                                                                             did you enter the related    account number for
                                                                                                               creditor?                    this entity

  Blake, Cassels & Graydon LLP                                                                                 Line 2.3
  Name

  Austin Beck
  Notice Name

  855 - 2nd Street S.W.
  Street

  Suite 3500, Bankers Hall East Tower


  Vancouver                                    AB                              T2P 4J8
  City                                         State                           ZIP Code

  Canada
  Country

  Blake, Cassels & Graydon LLP                                                                                 Line 2.3
  Name

  Christopher Keliher
  Notice Name

  855 - 2nd Street S.W.
  Street

  Suite 3500, Bankers Hall East Tower


  Vancouver                                    AB                              T2P 4J8
  City                                         State                           ZIP Code

  Canada
  Country

  Blake, Cassels & Graydon LLP                                                                                 Line 2.3
  Name

  Erik Fleming
  Notice Name

  855 - 2nd Street S.W.
  Street

  Suite 3500, Bankers Hall East Tower


  Vancouver                                    AB                              T2P 4J8
  City                                         State                           ZIP Code

  Canada
  Country




 Official Form 206D                       Schedule D: Creditors Who Have Claims Secured by Property                                                Page 26 of 27
                                  Case 23-10499-CTG              Doc 5       Filed 05/22/23       Page 54 of 192
  Debtor:     Structurlam Mass Timber Corporation                                              Case number (if known):   23-10499
              Name

Blake, Cassels & Graydon LLP                                                                           Line 2.3
Name

Kelly Bourassa
Notice Name

855 - 2nd Street S.W.
Street

Suite 3500, Bankers Hall East Tower


Vancouver                                           AB                   T2P 4J8
City                                                State                ZIP Code

Canada
Country




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                Page 27 of 27
                                           Case 23-10499-CTG             Doc 5        Filed 05/22/23              Page 55 of 192


 Fill in this information to identify the case:

 Debtor Name: In re : Structurlam Mass Timber Corporation

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                 Check if this is an
 Case number (if known): 23-10499 (CTG)                                                                                                          amended filing


 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                               12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


Part 1:      List All Creditors with PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      No. Go to Part 2.
     Yes. Go to Line 2.
    5




  2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
     3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                  Total claim                Priority amount

          2.1 Priority creditor’s name and mailing address         As of the petition filing date, the claim is: $               3,642.54    $             3,642.54
             California Department of Tax & Fee Administration     Check all that apply.
             Creditor Name
                                                                      Contingent
                                                                    5Unliquidated
             Creditor's Notice name
                                                                      Disputed
             PO Box 942879
             Address                                                Basis for the claim:




             Sacramento               CA          94279-3535
             City                     State        ZIP Code



             Country

             Date or dates debt was incurred


             Last 4 digits of account                                                                                Is the claim subject to offset?
             number                                                                                                  5No

             Specify Code subsection of PRIORITY unsecured                                                            Yes
             claim: 11 U.S.C. § 507(a) (8)




 Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 1 of 102
                                      Case 23-10499-CTG          Doc 5         Filed 05/22/23             Page 56 of 192
  Debtor:   Structurlam Mass Timber Corporation                                                       Case number (if known):      23-10499
            Name

    2.2 Priority creditor’s name and mailing address        As of the petition filing date, the claim is: $                     532.84   $          532.84
        Oregon Department of Revenue                        Check all that apply.
        Creditor Name
                                                              Contingent
                                                              Unliquidated
        Creditor's Notice name
                                                              Disputed
        PO Box 14725
        Address                                              Basis for the claim:




        Salem                    OR          97309-0950
        City                     State        ZIP Code



        Country

        Date or dates debt was incurred


        Last 4 digits of account                                                                              Is the claim subject to offset?
        number                                                                                                5No

        Specify Code subsection of PRIORITY unsecured                                                          Yes
        claim: 11 U.S.C. § 507(a) (8)
    2.3 Priority creditor’s name and mailing address        As of the petition filing date, the claim is: $                6,750.60      $        6,750.60
        Receiver General - GST                              Check all that apply.
        Creditor Name
                                                              Contingent

        Canada Revenue Agency                                5Unliquidated
        Creditor's Notice name
                                                              Disputed
        PO Box 3800 Station A
        Address                                              Basis for the claim:




        Sudbury                  ON          P3A 0C3
        City                     State        ZIP Code

        Canada
        Country

        Date or dates debt was incurred
        1/25/2023

        Last 4 digits of account                                                                              Is the claim subject to offset?
        number                                                                                                  No

        Specify Code subsection of PRIORITY unsecured                                                          Yes
        claim: 11 U.S.C. § 507(a) (8)




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Part 2:     List All Creditors with NONPRIORITY Unsecured Claims



  3.List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
    claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                   Amount of claim

     3.1 Nonpriority creditor’s name and mailing address                           As of the petition filing date, the claim is:   $                        3,739.44
          0708006 BC LTD.                                                          Check all that apply.
          Creditor Name
                                                                                      Contingent
                                                                                      Unliquidated
          Creditor's Notice name
                                                                                      Disputed
          Per Brian Martin                                                         Basis for the claim:
          Address
                                                                                   Trade payables
          c/o PO Box 359




          Kaleden                  BC              V0H 1K0
          City                     State            ZIP Code

          Canada
          Country

          Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                    No
                                                                                   5
          Last 4 digits of account                                                    Yes

          number

     3.2 Nonpriority creditor’s name and mailing address                           As of the petition filing date, the claim is:   $                         373.72
          1012403 BC Ltd                                                           Check all that apply.
          Creditor Name
                                                                                      Contingent
                                                                                      Unliquidated
          Creditor's Notice name
                                                                                      Disputed
          dba Big Jay Express                                                      Basis for the claim:
          Address
                                                                                   Trade payables
          775 Martin Street




          Penticton                BC              V2A 5L8
          City                     State            ZIP Code

          Canada
          Country

          Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                    No
                                                                                   5
          Last 4 digits of account                                                    Yes

          number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

    3.3 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                8,008.62
        1050350 BC Ltd.                                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        dba Reliable Transport & RV Hauling                              Basis for the claim:
        Address
                                                                         Trade payables
        PO Box 1061




        Penticton                BC               V2A 6J9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

    3.4 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                4,674.28
        687503 BC Inc DBA Okanagan Containers                            Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        237 Maple Ave                                                    Basis for the claim:
        Address
                                                                         Trade payables




        Oliver                   BC               V0H 1T9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

    3.5 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 457.10
        A & G Supply Ltd                                                 Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        827 Fairweather Place                                            Basis for the claim:
        Address
                                                                         Trade payables




        Vernon                   BC               V1T 9B5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

    3.6 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $               15,432.92
        A&S Service Group Ltd.                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        115 - 1441 Clark Ave                                             Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 7K7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

    3.7 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 231.55
        Absolute E-Z Up, Inc                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1121 Military Cutoff Rd                                          Basis for the claim:
        Address
                                                                         Trade payables
        STE C-385




        Wilmington               NC               28405
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

    3.8 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                1,911.74
        Ace Courier Services                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        122, 3016 - 10Th Avenue Ne                                       Basis for the claim:
        Address
                                                                         Trade payables




        Calgary                  AB               T2A 6A3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

    3.9 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                1,638.33
        Acklands - Grainger Inc                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 2970                                                      Basis for the claim:
        Address
                                                                         Trade payables




        Winnipeg                 MB               R3C 4B5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.10 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 737.31
        Action Steel Sales                                               Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2365 Barnes Street                                               Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 7K6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.11 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                3,906.60
        Air Liquide Canada Inc                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1250 Rene-Levesque West                                          Basis for the claim:
        Address
                                                                         Trade payables
        Suite 1700




        Montreal                 QC               H3B 5E6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.12 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                6,629.69
        Akhurst Machinery Limited                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1669 Fosters Way                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Delta                    BC               V3M 6S7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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               Name

   3.13 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                6,257.70
        All-Span Engineering & Construction                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Suite 201                                                        Basis for the claim:
        Address
                                                                         Trade payables
        7198 Vantage Way




        Delta                    BC               V4G 1K7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.14 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                2,482.72
        Amazon.com.ca.inc                                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        315 Attwell Drive                                                Basis for the claim:
        Address
                                                                         Trade payables




        Toronto                  ON               M9W5C1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.15 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   179.58
        Arrow Speed Controls Ltd.                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        13851 Bridgeport Road                                            Basis for the claim:
        Address
                                                                         Trade payables




        Richmond                 BC               V6V 1J6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.16 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 6,904.56
        ASDAC CNC Machining Ltd.                                         Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2521 Juliann Road                                                Basis for the claim:
        Address
                                                                         Trade payables




        West Kelowna             BC               V1Z 2M3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                    Case number (if known):       23-10499
               Name

   3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 4,167.84
        Atco Structures & Logistics Ltd                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        115 Peacekeepers Drive Sw                                         Basis for the claim:
        Address
                                                                          Trade payables




        Calgary                  AB               T3E 7X4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 1,446.60
        Aurora Print Solutions                                            Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        102 - 380 Okanagan Ave East                                       Basis for the claim:
        Address
                                                                          Trade payables




        Penticton                BC               V2A 8N3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                    Case number (if known):       23-10499
               Name

   3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                   958.73
        AutomationDirect                                                  Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        PO Box 402417                                                     Basis for the claim:
        Address
                                                                          Trade payables




        Atlanta                  GA               30384-2417
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.20 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 5,255.43
        Avalara, INC                                                      Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        Dept CH 16781                                                     Basis for the claim:
        Address
                                                                          Trade payables




        Palatine                 IL               60055
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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               Name

   3.21 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 5,663.68
        AWC Process Solutions LTD.                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        9087A 198 Street                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Langley                  BC               V1M 3B1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.22 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,828.72
        B & L Machine Shop                                               Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        448 Dawson Avenue                                                Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3N7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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               Name

   3.23 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,479.56
        B. Riley Farber Advisory Inc.                                    Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        150 York Street                                                  Basis for the claim:
        Address
                                                                         Trade payables
        Suite 1600




        Toronto                  ON               M5H 3S5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.24 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,555.54
        Baron Quality Assurance                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        4631 Falaise Dr.                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Victoria                 BC               V8Y 1B4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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               Name

   3.25 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                10,372.20
        Barry Beecroft Fuel Distributors Ltd                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        448 Industrial Avenue East                                       Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3J1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.26 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   562.99
        BC Fasteners & Tools Ltd                                         Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3, 1960 Windsor Road                                             Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1Y 4R5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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               Name

   3.27 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 6,228.48
        BC Wood Specialties Group                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Suite 200, 9292 - 200th Street                                   Basis for the claim:
        Address
                                                                         Trade payables




        Langley                  BC               V1M 3A6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.28 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                31,467.68
        BDO Canada LLP (Kelowna Branch)                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        400 - 1631 Dickson Avenue                                        Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1Y 0B5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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               Name

   3.29 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 5,584.99
        BDO Canada LLP (Toronto Branch)                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        222 Bay Street                                                   Basis for the claim:
        Address
                                                                         Trade payables
        Suiite 2200




        Toronto                  ON               M5K 1H1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.30 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,692.22
        Bell Media Inc                                                   Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        33 Carmi Ave                                                     Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3G4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.31 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   121.32
        Bell Mobility Inc.                                               Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 5480                                                      Basis for the claim:
        Address
                                                                         Trade payables
        Station Terminal




        Vancouver                BC               V6B 4B5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.32 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                    16.11
        Benjamin Moore                                                   Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1768 Springfield road                                            Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1Y 5V6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.33 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                  5,556.57
        Berry & Smith Trucking Ltd                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        301 Warren Avenue East                                           Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3M1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.34 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $              Undetermined
        Bird Construction                                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                         5Unliquidated
        Creditor's Notice name
                                                                         5Disputed
        #300 - 13777 Commerce Parkway                                    Basis for the claim:
        Address
                                                                         Contractual claim




        Richmond                 BC               V6V 2X3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 19 of 102
                                   Case 23-10499-CTG            Doc 5     Filed 05/22/23              Page 74 of 192
  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.35 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   387.04
        Bissett Fasteners Limited                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        63 Fawcett Road                                                  Basis for the claim:
        Address
                                                                         Trade payables




        Coquitlam                BC               V3K 6V2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.36 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,057.64
        Brandner Communications Inc.                                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        32026 32nd Ave                                                   Basis for the claim:
        Address
                                                                         Trade payables




        Federal Way              WA               98001
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 20 of 102
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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.37 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                46,802.50
        Broadhead Operating dba. HMH Agency                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        dba HMH Agency                                                   Basis for the claim:
        Address
                                                                         Trade payables
        411 Washington Ave N




        Minneapolis              MN               55401
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.38 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,819.07
        Broadview Landscape Inc                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1019 Moosejaw St                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A5T5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 21 of 102
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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.39 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                13,244.43
        CadWork Informatique Inc.                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        5037 Rue Chabot                                                  Basis for the claim:
        Address
                                                                         Trade payables




        Montreal                 QC               H2H 1Y7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.40 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,516.33
        Canadian Willamette Industries Inc.                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        19081 27th Avenue                                                Basis for the claim:
        Address
                                                                         Trade payables




        Surrey                   BC               V3Z 5T1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 22 of 102
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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.41 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,065.06
        Cascade Raider Holdings Ltd                                      Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        8335 Winston Street                                              Basis for the claim:
        Address
                                                                         Trade payables




        Burnaby                  BC               V5A 2H3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.42 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 7,121.26
        Castanet Holdings LP                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        455 Lawrence Ave                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1Y 6L6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 23 of 102
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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.43 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,822.39
        CDW Canada                                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 57720                                                     Basis for the claim:
        Address
                                                                         Trade payables
        Postal Station A




        Toronto                  ON               M5W 5M5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.44 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 8,256.00
        Cintas Canada Ltd (889)                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Dept. 400004                                                     Basis for the claim:
        Address
                                                                         Trade payables
        PO Box 4372 Stn A




        Toronto                  ON               M5W 0J2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.45 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 6,271.40
        Cisco Systems Capital Canada Co                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        88 Queens Quay                                                   Basis for the claim:
        Address
                                                                         Trade payables
        Suite 2900




        Toronto                  ON               M5J 0B8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.46 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   179.29
        Cloverdale Paint Inc                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1652 Fairview Road                                               Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 6A7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.47 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   148.97
        Coast Distributors (Kelowna) LTD                                 Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        181 Tilley Road                                                  Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V4V 2K5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.48 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                25,740.69
        Command Industries Inc.                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        630 Adams Court                                                  Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1X 7S2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.49 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                92,897.89
        Contech Construction Ltd                                         Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        150 - 12860 Clarke Place                                         Basis for the claim:
        Address
                                                                         Trade payables




        Richmond                 BC               V6V2H1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.50 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                26,250.75
        Cothrom Systems Corporation                                      Check all that apply.
        Creditor Name
                                                                         5Contingent
                                                                         5Unliquidated
        Creditor's Notice name
                                                                         5Disputed
        93030 - 5331 Headland Drive                                      Basis for the claim:
        Address
                                                                         Legal claim




        West Vancouver           BC               V7W 3G4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.51 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                10,267.45
        CP Cranes Inc                                                    Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1565 Stevens Road                                                Basis for the claim:
        Address
                                                                         Trade payables




        West Kelowna             BC               V1Z 1G2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.52 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                24,135.19
        CustomAir DBA: Britech HVAC LTD                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1835 Broadway St.                                                Basis for the claim:
        Address
                                                                         Trade payables




        Port Coquitlam           BC               V3C 4Z1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.53 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $               242,766.33
        Day & Ross                                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        11470 131st Street                                               Basis for the claim:
        Address
                                                                         Trade payables




        Surrey                   BC               V3R 4S7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.54 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 5,220.39
        Deringer                                                         Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 11349                                                     Basis for the claim:
        Address
                                                                         Trade payables
        Succursale Centre-Ville




        Montreal                 QC               H3C5H1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.55 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                26,873.24
        Dowco Consultants Ltd                                            Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        8621 201 Street, Suite 300                                       Basis for the claim:
        Address
                                                                         Trade payables




        Langley                  BC               V2Y 0G9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.56 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,129.62
        Eagle Power & Engineering (1984) Ltd                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Box 37059                                                        Basis for the claim:
        Address
                                                                         Trade payables




        Nanaimo                  BC               V9T6N4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.57 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 4,647.96
        EB Horsman & Son                                                 Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        401 Okanagan Avenue                                              Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3K1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.58 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,703.59
        Elander Inspections Ltd.                                         Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2500 No. 5 Road                                                  Basis for the claim:
        Address
                                                                         Trade payables




        Richmond                 BC               V6X 2T1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.59 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 8,873.74
        elevateHR Consulting and Coaching                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3503 20th St.                                                    Basis for the claim:
        Address
                                                                         Trade payables




        Vernon                   BC               V1T 4C6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.60 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                23,558.39
        Energy Resourcing                                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        #150, 205 Quarry Park Blvd SE                                    Basis for the claim:
        Address
                                                                         Trade payables




        Calgary                  AB               T2C 3E7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.61 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,580.00
        Enriquez, Andrew                                                 Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Address On File                                                  Basis for the claim:
        Address
                                                                         Trade payables




        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.62 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                22,000.00
        Equilibrium Consulting Inc.                                      Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1535 West 3rd Ave                                                Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V6J 1J8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.63 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                12,000.00
        Equilibrium Consulting USA INC                                   Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1535 West 3rd Ave                                                Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V7R 1J7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.64 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 9,894.23
        EZ Bins                                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        4850B Weyerhauser Road                                           Basis for the claim:
        Address
                                                                         Trade payables




        Okanagan Falls           BC               V0H 1R2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.65 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                11,745.11
        Farber Business Advisory Services Inc.                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1120 Sheppard Avenue East                                        Basis for the claim:
        Address
                                                                         Trade payables
        Suite 300




        North York               ON               M2K 2S5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.66 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   450.00
        Fast + Epp                                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        201-1672 West 1st Avenue                                         Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V6J 1G1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 35 of 102
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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.67 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,313.57
        Federal Express Canada Ltd                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 4626, Toronto Station A                                   Basis for the claim:
        Address
                                                                         Trade payables




        Toronto                  ON               M5W 5B4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.68 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 7,950.00
        Forest Economic Advisors LLC                                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        298 Great Road, Suite 1                                          Basis for the claim:
        Address
                                                                         Trade payables




        Littleton                MA               1460
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.69 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                22,504.18
        Fortis Bc Inc                                                    Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Po Box 8970 Station Main                                         Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V6B 4E2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.70 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                14,801.49
        Fountain Tire Penticton                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        359 Dawson Avenue                                                Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3N5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 37 of 102
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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.71 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $               194,895.36
        Fox's Transport LTD.                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        8328 1st Street                                                  Basis for the claim:
        Address
                                                                         Trade payables




        Edmonton                 AB               T6P 1X2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.72 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,895.24
        FP Innovations                                                   Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        570, boul. St-Jean                                               Basis for the claim:
        Address
                                                                         Trade payables




        Pointe-Claire            QC               H9R 3J9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 38 of 102
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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.73 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $              Undetermined
        Galina Pentecost                                                 Check all that apply.
        Creditor Name
                                                                         5Contingent

        c/o Derek Young, Kornfeld LLP                                    5Unliquidated
        Creditor's Notice name
                                                                         5Disputed
        1100 One Bentall Centre                                          Basis for the claim:
        Address
                                                                         Legal claim
        505 Burrard Street, Box 11




        Vancouver                BC               V7X 1M5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.74 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 11,121.13
        Georg Schwarzbeck GMBH & Co KG                                   Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        25421 Pinneberg, Industriestrasse 3                              Basis for the claim:
        Address
                                                                         Trade payables
        25410 Pinneberg, Postfach 20 27




        Pinneberg                INT              (blank)
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.75 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 7,291.88
        Glasstep Consulting Inc.                                         Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        5796 Richards Crescent                                           Basis for the claim:
        Address
                                                                         Trade payables




        Vernon                   BC               V1B 3R1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.76 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                28,117.78
        Gopher Matts, LLC dba Viking Mat Co                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        7615 Smetana Lane Suite 140                                      Basis for the claim:
        Address
                                                                         Trade payables




        Eden Prairie             MN               55344
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.77 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,687.66
        Granville Island Hotel                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1253 Johnston Street                                             Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V6H 3R9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.78 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                20,665.05
        GTI Spindle Technology, Inc                                      Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        33 Zachary Road                                                  Basis for the claim:
        Address
                                                                         Trade payables




        Manchester               NH               3109
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.79 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   528.90
        Guillevin International Co.                                      Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3920 Norland Ave, suite 205                                      Basis for the claim:
        Address
                                                                         Trade payables
        PO Box 2102




        Vancouver                BC               V6B 3T2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.80 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $               234,748.19
        Heavy Timber Group                                               Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        4120 Douglas Blvd #306-502                                       Basis for the claim:
        Address
                                                                         Trade payables




        Granite Bay              CA               95746
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.81 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $               119,485.71
        Henkel Canada Corporation                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        c/o 912360                                                       Basis for the claim:
        Address
                                                                         Trade payables
        PO Box 4090 STN A




        Toronto                  ON               M5W 0E9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.82 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $               103,709.91
        Hexion Canada Inc                                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        c/o Lbx V7444C/U Bns Wholesale Lockbox                           Basis for the claim:
        Address
                                                                         Trade payables
        PO Box 7444 Station Terminal




        Vancouver                BC               V6B 4E2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.83 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,736.81
        Hilti (Canada) Corporation                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Po Box 4206 Stn A                                                Basis for the claim:
        Address
                                                                         Trade payables




        Toronto                  ON               M5W 5L5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.84 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,133.03
        Hitech Saws 2020                                                 Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Greyback Consulting Corp                                         Basis for the claim:
        Address
                                                                         Trade payables
        106-325 Cherry Ave




        Penticton                BC               V2A 8R2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.85 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                14,402.67
        Hundegger Canada Inc                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        202 - 2914 Kingsview Boulevard Se                                Basis for the claim:
        Address
                                                                         Trade payables




        Airdrie                  AB               T4A 0A9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.86 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,116.07
        Ifm Efector Canada Inc                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2476 Argenti Road                                                Basis for the claim:
        Address
                                                                         Trade payables
        Suite 302




        Mississauga              ON               L5N 6M1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                    Case number (if known):       23-10499
               Name

   3.87 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 6,776.56
        ISL Engineering & Land Services                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        Suite 100, 7909 - 51 Avenue                                       Basis for the claim:
        Address
                                                                          Trade payables




        Edmonton                 AB               T6E 5L9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

   3.88 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 1,133.33
        J&W Contracting Incorporated                                      Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        1906 Thornber Street                                              Basis for the claim:
        Address
                                                                          Trade payables




        Summerland               BC               V0H 1Z9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.89 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,327.40
        Jim Pattison Lease                                               Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        4937 Regent Street                                               Basis for the claim:
        Address
                                                                         Trade payables




        Burnaby                  BC               V5C 4H4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.90 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                12,102.86
        Joulin Vacuum Handling                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2551 Hwy 70 SW                                                   Basis for the claim:
        Address
                                                                         Trade payables




        Hickory                  NC               28602
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.91 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   288.71
        Kaseya dba IT Glue                                               Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        700 - 128 W Pender Street                                        Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V6B 1R8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.92 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   703.89
        KBC Tools & Machinery                                            Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        108-1538 Cliveden Avenue                                         Basis for the claim:
        Address
                                                                         Trade payables




        Delta                    BC               V3M 6J8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.93 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 7,189.58
        Kelowna Hot Shot Service                                         Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3156 Appaloosa Road                                              Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1V 2G9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.94 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   540.92
        KMS Tools & Equipment Ltd                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        110 Woolridge Street                                             Basis for the claim:
        Address
                                                                         Trade payables




        Coquitlam                BC               V3K 5V4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.95 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,661.71
        Kova Engineering Ltd                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        101-131 Portage Close                                            Basis for the claim:
        Address
                                                                         Trade payables




        Sherwood Park            AB               T8H 2R5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.96 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,899.67
        Kronos                                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        C/O Lockbox 916110                                               Basis for the claim:
        Address
                                                                         Trade payables
        PO Box 4090




        Toronto                  ON               M5W 0E9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.97 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,523.04
        Leanne Daniels Learning Development                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        5160 Haynes Road                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Vernon                   BC               V1B 3J6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

   3.98 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                25,163.89
        Leavitt Machinery Canada Inc                                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        dba LEAVITT MACHINERY                                            Basis for the claim:
        Address
                                                                         Trade payables
        102 - 19433 96th Avenue




        Surrey                   BC               V4N 4C4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 51 of 102
                                  Case 23-10499-CTG            Doc 5      Filed 05/22/23             Page 106 of 192
  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

   3.99 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                    39.86
        Lordco Auto Parts                                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        22866 Dewdney Trunk Road                                         Basis for the claim:
        Address
                                                                         Trade payables




        Maple Ridge              BC               V2X 3K6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.100 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                    19.33
        MacDias Enterprises Inc. dba Ace Building Centre                 Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 959                                                       Basis for the claim:
        Address
                                                                         Trade payables




        Oliver                   BC               V0H 1T0
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 52 of 102
                                  Case 23-10499-CTG            Doc 5      Filed 05/22/23             Page 107 of 192
  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.101 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                355,340.92
        Marcon Metalfab Inc.                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        7156 Brown Street                                                Basis for the claim:
        Address
                                                                         Trade payables




        Delta                    BC               V4G 1G8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.102 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $              Undetermined
        Marlene Higgins                                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                         5Unliquidated
        Creditor's Notice name
                                                                         5Disputed
        Address On File                                                  Basis for the claim:
        Address
                                                                         Legal claim




        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.103 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   433.93
        Masse Sales Ltd                                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Unit 501, 2071 Kingsway Avenue                                   Basis for the claim:
        Address
                                                                         Trade payables




        Port Coquitlam           BC               V3C 6N2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.104 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   149.27
        McCann Equipment LTD                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        10255, Cote-de-Liesse                                            Basis for the claim:
        Address
                                                                         Trade payables




        Dorval                   QC               H9P 1A3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 54 of 102
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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.105 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   132.96
        McLean & Armstrong LLP                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        300-1497 Marine Drive                                            Basis for the claim:
        Address
                                                                         Trade payables




        West Vancouver           B.C.             V2T 1B8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.106 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   632.04
        Metal Supermarkets Kelowna                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1097849 BC Ltd                                                   Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  B.C.             V1X 6N6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.107 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   562.96
        Mills Office Productivity                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1111 Clark Drive                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V5L 3K5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.108 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                35,021.29
        Monashee Manufacturing Corporation Ltd                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1247 Ellis Street                                                Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1Y 1Z6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.109 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,605.11
        Moses Structural Engineers                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        366 Adelaide St. West                                            Basis for the claim:
        Address
                                                                         Trade payables
        Suite LL04




        Toronto                  ON               M5V 1R9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.110 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                27,237.94
        Motion Canada                                                    Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Po Box 9165 Station M                                            Basis for the claim:
        Address
                                                                         Trade payables




        Calgary                  AB               T2P 5E1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.111 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 8,898.98
        Mussell Crane Mfg                                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Po Box 253, Station Main                                         Basis for the claim:
        Address
                                                                         Trade payables
        620 B Wellington Ave




        Chilliwack               BC               V2P 6J1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.112 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,311.56
        Napa Auto Parts (1381)                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        130-1456 Fairview Road                                           Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 6A2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.113 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,037.50
        NCS                                                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        729 Miner Rd                                                     Basis for the claim:
        Address
                                                                         Trade payables




        Highlands Hights         OH               44143
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.114 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                61,561.52
        New West Installations Ltd                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        630 Beaver Lake Road                                             Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V4V 1S7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.115 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,465.90
        New-Line Products Ltd                                            Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        9415 - 189Th Street                                              Basis for the claim:
        Address
                                                                         Trade payables




        Surrey                   BC               V4N 5L8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.116 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 7,576.93
        Norcan Fluid Power Ltd                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1867 Versatile Drive                                             Basis for the claim:
        Address
                                                                         Trade payables




        Kamloops                 BC               V1S 1C5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.117 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,787.89
        North Shore Pest Detective                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        dba. South Okanagan Pest Detective                               Basis for the claim:
        Address
                                                                         Trade payables
        7 - 5005 Lakeshore Drive




        Osoyoos                  BC               V0H 1V6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.118 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                32,082.46
        Northern Computer                                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        B7 - 1620 Dickson Ave                                            Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1Y 9Y2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.119 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,851.15
        Nor-Val Rentals Ltd                                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3004 Smith Drive                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Armstrong                B.C.             V0E 1B1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.120 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,599.85
        Okanagan Office Systems                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        523 Lawrence Avenue                                              Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1Y 6L8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.121 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                    88.98
        Okanagan Water Service Dba Culligan                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1950 Windsor Road                                                Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1Y 4R5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.122 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,780.68
        On-Route Transport LTD.                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3455 Ross Road                                                   Basis for the claim:
        Address
                                                                         Trade payables




        Abbotsford               BC               V4X 1M6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.123 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,577.57
        Outside The Box Distributors Ltd.                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        4500 Wellington Drive                                            Basis for the claim:
        Address
                                                                         Trade payables




        Vernon                   BC               V1T 8W3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.124 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                19,363.17
        Owens Corning Canada LP                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        C/O T10275 PO Box 4918 Stn A                                     Basis for the claim:
        Address
                                                                         Trade payables




        Toronto                  ON               M5W 0C9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                    Case number (if known):       23-10499
               Name

  3.125 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 2,505.03
        Pacific Bolt Manufacturing LTD.                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        5250 272nd Street                                                 Basis for the claim:
        Address
                                                                          Trade payables




        Langley                  BC                   V4W 1S3
        City                     State                ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

  3.126 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                   213.85
        Pacific Western Fire Protection (2017) Ltd.                       Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        #16 - 2550 Acland Road                                            Basis for the claim:
        Address
                                                                          Trade payables




        Kelowna                  BC                   V1X 7L4
        City                     State                ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.127 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,947.62
        Penta Transport LTD.                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1620 Harold Road                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Nanaimo                  BC               V9X 1T4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.128 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,557.01
        Penticton Honda Centre                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        100 Industrial Avneue East                                       Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3H8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.129 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   447.17
        Penticton Klassic Kabs Ltd.                                      Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 21062                                                     Basis for the claim:
        Address
                                                                         Trade payables
        Lougheed Mall




        Penticton                BC               V2A 8K8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.130 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   747.89
        Penticton Towing & Recovery                                      Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1325 Commercial Way                                              Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3H4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.131 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,361.39
        Penticton Winery Supplies Inc.                                   Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        4027 Solana Crescent                                             Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 9A4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.132 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,290.00
        Performance Bonding Surety & Insurance                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        15901 Red Hill Ave Suite 100                                     Basis for the claim:
        Address
                                                                         Trade payables




        Tustin                   CA               92780
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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                                  Case 23-10499-CTG            Doc 5      Filed 05/22/23             Page 123 of 192
  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.133 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   250.00
        Permapost Products CO                                            Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 100                                                       Basis for the claim:
        Address
                                                                         Trade payables




        Hillsboro                OR               97123
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.134 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   699.80
        Portland Bolt & Manufacturing Co., Inc                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3441 NW Guam Street                                              Basis for the claim:
        Address
                                                                         Trade payables




        Portland                 OR               97070
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 69 of 102
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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.135 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   616.23
        Prime Fasteners of BC LTD.                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3460 Gardner Court                                               Basis for the claim:
        Address
                                                                         Trade payables




        Burnaby                  BC               V5G 3K4
        City                     State             ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.136 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   550.18
        Quality First Plumbing and Heating Services Ltd.                 Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 256                                                       Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 6J9
        City                     State             ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.137 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                26,460.77
        R.P.B Holdings LTD.                                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        dba Penticton Lakeside Resort                                    Basis for the claim:
        Address
                                                                         Trade payables
        21 Lakeshore Drive West




        Penticton                BC               V2A 7M5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.138 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,472.94
        Ramsden Square Fastening Ltd                                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        108, 854 Mccurdy Road                                            Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1X 2P7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.139 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                49,461.24
        Rapid Industries                                                 Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 1410                                                      Basis for the claim:
        Address
                                                                         Trade payables




        Oliver                   BC               V0H 1T0
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.140 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,334.85
        Redwood Plastics And Rubber Corp                                 Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        19695 - 92A Avenue                                               Basis for the claim:
        Address
                                                                         Trade payables




        Langley                  BC               V1M 3B3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.141 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   303.84
        Rid-It Pest Control                                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 429 Station Main                                          Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 6J9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.142 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,212.03
        Rona Inc                                                         Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 1011                                                      Basis for the claim:
        Address
                                                                         Trade payables




        Boucherville             QC               J4B 8H7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.143 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                    76.97
        Rona Inc.                                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        DBA: Dick's Lumber                                               Basis for the claim:
        Address
                                                                         Trade payables




        Burnaby                  B.C.             V5C 4T5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.144 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   108.21
        Rothoblaas Canada Construction Products Inc.                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Unit 109 - 7950 Huston Road                                      Basis for the claim:
        Address
                                                                         Trade payables




        Delta                    BC               V4G 1C2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                    Case number (if known):       23-10499
               Name

  3.145 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 6,232.38
        Sandpiper RF Engineering Ltd                                      Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        2 Stanbrae Rd                                                     Basis for the claim:
        Address
                                                                          Trade payables




        Fergusons Cove           NS               B3V 1G4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

  3.146 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                 1,197.96
        SARMAX SRL                                                        Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        VIA ARCHIMEDE 75                                                  Basis for the claim:
        Address
                                                                          Trade payables




        LIMIDI DI                MODENA           41010
        SOLIERA
        City                     State            ZIP Code

        Italy
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.147 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   487.72
        Shaw Cable                                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Po Box 2468 Stn M                                                Basis for the claim:
        Address
                                                                         Trade payables




        Calgary                  AB               T2P 4Y2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.148 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                    39.48
        Sherwood Trophies & Signs Ltd.                                   Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        498 Vees Drive                                                   Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 7Y6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.149 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   550.20
        Signode Packaging Group Canada ULC                               Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        241 Gough Road                                                   Basis for the claim:
        Address
                                                                         Trade payables




        Markham                  ON               L3R 5B3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.150 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                12,659.82
        Simpson Strong Tie Canada, Limited                               Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        811-19055 Airport Way                                            Basis for the claim:
        Address
                                                                         Trade payables




        Pitt Meadows             BC               V3Y 0G4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.151 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $              16,951,350.75
        SLP Holdings Ltd.                                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2176 Government Street                                           Basis for the claim:
        Address
                                                                         Intercompany




        Penticton                BC               V2A 8B5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.152 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   5,939.88
        Smithson Employment Law Corporation                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        306 - 1500 Hardy Street                                          Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1Y 8H2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.153 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   627.20
        South Okanagan Security Services Ltd.                            Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        104 - 1960 Barnes Street                                         Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 4C3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.154 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   490.80
        Splash Media Group Inc.                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        1010 4th Ave                                                     Basis for the claim:
        Address
                                                                         Trade payables




        Prince George            BC               V2L 3J1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.155 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,127.76
        St. John Society (British Columbia and Yukon)                    Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        120 - 316 Cambie Street                                          Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V5Z 3B2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.156 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 7,261.43
        Storagepipe Solutions Inc.                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3080 Yonge St., Suite 6000                                       Basis for the claim:
        Address
                                                                         Trade payables




        Toronto                  ON               M4N 3N1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.157 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $              Undetermined
        Stuart Olsen Construction                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                         5Unliquidated
        Creditor's Notice name
                                                                         5Disputed
        #300 - 13777 Commerce Parkway                                    Basis for the claim:
        Address
                                                                         Contractual claim




        Richmond                 BC               V6V 2X3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.158 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                    606.99
        Summit International Trade Services                              Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        360 Okanagan Avenue East                                         Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 8N3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.159 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 7,745.63
        Superior Propane a Division of Superior Plus LP                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        6750 Century Ave                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Mississauga              ON               M5W0J5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.160 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,752.16
        Superior Septic Services                                         Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        150 Commercial Place                                             Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3H7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.161 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,012.23
        Sutton Place Hotel                                               Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        310-1755 West Broadway                                           Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V6J 4S5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.162 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                45,130.38
        Swayback Holdings Ltd.                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        402 Warren Avenue East                                           Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3M2
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.163 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   487.50
        TAL Quality Consultants, LLC                                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        737 East 3200 South                                              Basis for the claim:
        Address
                                                                         Trade payables




        Preston                  ID               83263
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.164 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,066.50
        Telus Communications Inc.                                        Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        c/o Telus Services                                               Basis for the claim:
        Address
                                                                         Trade payables
        Attn: Payment Experience




        Vancouver                BC               V8B 8P3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.165 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,040.35
        Telus Mobility                                                   Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 8950                                                      Basis for the claim:
        Address
                                                                         Trade payables
        Stn Terminal




        Vancouver                BC               V6B 3C3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.166 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 2,918.64
        Tenaquip Limited                                                 Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Tenaquip Limitee                                                 Basis for the claim:
        Address
                                                                         Trade payables
        22555 Aut Transcanadienne




        Senneville               QC               H9X 3L7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.167 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,859.40
        Texcan                                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Division of Sonepar Canada Inc                                   Basis for the claim:
        Address
                                                                         Trade payables
        10449 120th Street




        Surrey                   BC               V3V 4G4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.168 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   996.53
        The Electric Blacksmith Ltd.                                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        114-1091 Commercial Place                                        Basis for the claim:
        Address
                                                                         Trade payables




        Squamish                 BC               V8B 1B5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.169 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                15,008.56
        The Sansin Corporation                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        111 MacNab Avenue                                                Basis for the claim:
        Address
                                                                         Trade payables




        Strathroy                ON               N7G 4J6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.170 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   343.06
        The Sherwin-Williams Company                                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        701 Main Street                                                  Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 5E1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.171 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,743.80
        Thomas Skinner & Son Limited                                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        13880 Vulcan Way                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Richmond                 BC               V6V 1K6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.172 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                33,267.59
        TICOMTEC USA, INC                                                Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        500 S. Jefferson, St.                                            Basis for the claim:
        Address
                                                                         Trade payables




        Placentia                CA               92870
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.173 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                85,399.17
        Timber Engineering Inc.                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3637 West 6th Ave                                                Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V6R 1T6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.174 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                24,890.80
        Timberline Tooling dba AceCo Precision Tools                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        4419 Federal Way                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Boise                    ID               83716
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.175 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   683.15
        Top Cat Tours                                                    Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        3635 Cobblestone Drive                                           Basis for the claim:
        Address
                                                                         Trade payables




        Abbotsford               BC               V2S7J8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.176 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,030.96
        Uline Canada Corporation                                         Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Box 3500 RPO Streetsville                                        Basis for the claim:
        Address
                                                                         Trade payables




        Mississauga              ON               L5M 0S8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.177 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                11,162.96
        Ultimate Kronos Group                                            Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        144 Bloor Street West                                            Basis for the claim:
        Address
                                                                         Trade payables
        Suite 400




        Toronto                  ON               M5S 1M4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.178 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                    47.74
        UPS Canada                                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 4900, Station A                                           Basis for the claim:
        Address
                                                                         Trade payables




        Toronto                  ON               M5W 0A7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.179 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,605.03
        Van Houtte Coffee Services                                       Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        105 - 2250 Acland Road                                           Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V1X 6N6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.180 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 5,564.62
        Vesper Transport LTD.                                            Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2115 Wooden Road                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Cawston                  BC               V0X 1C1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.181 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                    105.78
        Wal-Kat Lift Truck Ltd                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2000 Barnes Street                                               Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 4C3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.182 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $              Undetermined
        Walmart Inc.                                                     Check all that apply.
        Creditor Name
                                                                         5Contingent

        Michael Guptan, Vice President, Corporate Development            5Unliquidated
        Creditor's Notice name
                                                                           Disputed
        702 S.W. 8th Street                                              Basis for the claim:
        Address
                                                                         Loan Guarantee




        Bentonville              AR               72716
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.183 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 3,346.57
        Waste Connections Of Canada Inc                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        112, 1219 Commercial Way                                         Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 3H4
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.184 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   198.80
        Waste Management Of Canada Corp                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Po Box 15259 Station A                                           Basis for the claim:
        Address
                                                                         Trade payables




        Toronto                  ON               M5W 1C1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.185 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,299.17
        Wesco Industries Ltd                                             Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        Unit 1, 9663 - 199A Street                                       Basis for the claim:
        Address
                                                                         Trade payables




        Langley                  BC               V1M 2X7
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.186 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   741.65
        West Manufacturing Ltd                                           Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2930 Marmot Lane                                                 Basis for the claim:
        Address
                                                                         Trade payables




        Kelowna                  BC               V4T 1T8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.187 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 6,773.04
        West Wind Hardwood Inc.                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO Box 2205                                                      Basis for the claim:
        Address
                                                                         Trade payables




        Sidney                   BC               V8L 3S8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.188 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 6,443.53
        Westburne West                                                   Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        5600 Keaton Crescent                                             Basis for the claim:
        Address
                                                                         Trade payables




        Mississauga              ON               M5J 1S9
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                    Case number (if known):       23-10499
               Name

  3.189 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                15,930.64
        Western Forest Products US Inc.                                   Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        218 "V' Street                                                    Basis for the claim:
        Address
                                                                          Trade payables
        PO Box 489




        Vancouer                 WA               98666-0489
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number

  3.190 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:      $                   372.64
        Western Gasco                                                     Check all that apply.
        Creditor Name
                                                                            Contingent
                                                                            Unliquidated
        Creditor's Notice name
                                                                            Disputed
        #4-18925 94TH Avenue                                              Basis for the claim:
        Address
                                                                          Trade payables




        Surrey                   BC               V4N 4X5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           No
                                                                          5
        Last 4 digits of account                                            Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.191 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                83,880.42
        Western Lumber Company, LLC                                      Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2240 Tower East                                                  Basis for the claim:
        Address
                                                                         Trade payables
        Suite 200




        Medford                  OR               97504
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.192 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                   129.11
        Windsor Plywood                                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        174 Industrial Place                                             Basis for the claim:
        Address
                                                                         Trade payables




        Penticton                BC               V2A 7C8
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.193 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 1,665.60
        Wiseworth Canada Industries Ltd                                  Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        101, 19298 - 21St Avenue                                         Basis for the claim:
        Address
                                                                         Trade payables




        Surrey                   BC               V3Z 3M3
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.194 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                26,602.91
        Woodpecker European Timber Framing & Woodworks Ltd               Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        #5 - 5 Cougar Mountain Crescent                                  Basis for the claim:
        Address
                                                                         Trade payables




        Exshaw                   AB               T0L 2C1
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




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  Debtor:   Structurlam Mass Timber Corporation                                                   Case number (if known):       23-10499
               Name

  3.195 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                 44,385.69
        Work Safe BC                                                     Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        PO BNox 9600 Stn Terminal                                        Basis for the claim:
        Address
                                                                         Trade payables




        Vancouver                BC               V6B5J5
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number

  3.196 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:      $                  1,622.88
        ZOHO Canada Corporation                                          Check all that apply.
        Creditor Name
                                                                           Contingent
                                                                           Unliquidated
        Creditor's Notice name
                                                                           Disputed
        2400 - 333 Bay Street                                            Basis for the claim:
        Address
                                                                         Trade payables




        Toronto                  ON               M5H2T6
        City                     State            ZIP Code

        Canada
        Country

        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          No
                                                                         5
        Last 4 digits of account                                           Yes

        number




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 100 of 102
                                   Case 23-10499-CTG                    Doc 5        Filed 05/22/23             Page 155 of 192


Part 3:      List Others to Be Notified About Unsecured Claims

           4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
              agencies, assignees of claims listed above, and attorneys for unsecured creditors.
              If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the
              next page.

                                                                                                                                              Last 4 digits of
             Name and mailing address                                                           On which line in Part 1 or Part 2 is the
                                                                                                                                              account number, if
                                                                                                related creditor (if any) listed?
                                                                                                                                              any

          4.1 Bank of Montreal                                                                  Line 3.182
             Name                                                                                 Not Listed.Explain
             Alex Melnikov, Director, BMO Sponsor Finance
             Notice Name

             595 Burrard Street
             Street

             6th Floor


             Vancover                  BC                   V7X 1L7
             City                      State                ZIP Code

             Canada
              Country


          4.2 Walmart Inc.                                                                      Line 3.182
             Name                                                                                 Not Listed.Explain
             David Hollander, Senior Assocate GC, M&A
             Notice Name

             702 S.W. 8th Street
             Street




             Bentonville               AR                   72716
             City                      State                ZIP Code



              Country


          4.3 Walmart Inc.                                                                      Line 3.182
             Name                                                                                 Not Listed.Explain
             Matt Allen, Vice President, Finance
             Notice Name

             702 S.W. 8th Street
             Street




             Bentonville               AR                   72716
             City                      State                ZIP Code



              Country




  Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 101 of 102
                                 Case 23-10499-CTG            Doc 5      Filed 05/22/23   Page 156 of 192

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                     Total of claim amounts

5a.   Total claims from Part 1                                                               5a.     $                  10,925.98


5b.   Total claims from Part 2                                                               5b. ¬   $              19,758,970.99




5c.   Total of Parts 1 and 2                                                                 5c.     $              19,769,896.97
      Lines 5a + 5b = 5c.




  Official Form 206E/F                Schedule E/F: Creditors Who Have Unsecured Claims                                Page 102 of 102
                                   Case 23-10499-CTG                    Doc 5         Filed 05/22/23               Page 157 of 192


 Fill in this information to identify the case:

 Debtor Name: In re : Structurlam Mass Timber Corporation

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                   Check if this is an
 Case number (if known): 23-10499 (CTG)                                                                                                            amended filing


 Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


 1.   Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
        Form 206A/B).

                                                                                                         State the name and mailing address for all other parties with
 2.   List all contracts and unexpired leases                                                            whom the debtor has an executory contract or unexpired
                                                                                                         lease
              State what the contract or
        2.1                                                                                              ADVANCED CONSTRUCTION SOUTHWEST
              lease is for and the nature     LAGUNA CLARA
              of the debtor’s interest                                                                   Name

                                                                                                         PHIL STULTS
                                                                                                         Notice Name

                                                                                                         1580 N. BATAVIA ST., STE. 1
              State the term remaining                                                                   Address



              List the contract number of
              any government contract


                                                                                                         ORANGE                            CA                   92867
                                                                                                         City                              State                ZIP Code


                                                                                                         Country


              State what the contract or
        2.2                                                                                              BC PASSIVE HOUSE
              lease is for and the nature     BC PASSIVE HOUSE
              of the debtor’s interest                                                                   Name

                                                                                                         TONY FUEZ
                                                                                                         Notice Name

                                                                                                         1928 ARTISAN ROAD
              State the term remaining                                                                   Address



              List the contract number of
              any government contract


                                                                                                         PEMBERTON                         BC                   V0N 2K0
                                                                                                         City                              State                ZIP Code
                                                                                                         CANADA
                                                                                                         Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 158 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
       2.3                                                                                     BERT BAZLEY
              lease is for and the nature   EMPLOYMENT AGREEMENT
              of the debtor’s interest                                                         Name


                                                                                               Notice Name

                                                                                               ADDRESS ON FILE
              State the term remaining                                                         Address



              List the contract number of
              any government contract




                                                                                               City                               State    ZIP Code


                                                                                               Country


              State what the contract or
       2.4                                                                                     BMW CANADA INC.
              lease is for and the nature   BLACK SAPPHIRE BMW X3 M40I - 2021
              of the debtor’s interest                                                         Name


                                                                                               Notice Name

                                                                                               50 ULTIMATE DRIVE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               RICHMOND HILL                      ON       L4S OC8
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
       2.5                                                                                     BROOKSTONE MANAGEMENT, LLC
              lease is for and the nature   OSCAR JOHNSON JR. COMM CTR
              of the debtor’s interest                                                         Name

                                                                                               JERAMY MOFFITT
                                                                                               Notice Name

                                                                                               3715 DACOMA ST
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               HOUSTON                            TX       77092
                                                                                               City                               State    ZIP Code


                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 2 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 159 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
       2.6                                                                                     BROWARD BUILDERS
              lease is for and the nature   WILLITS RESIDENTIAL CTR
              of the debtor’s interest                                                         Name

                                                                                               SHAWN APPLETON
                                                                                               Notice Name

                                                                                               1200 EAST KENTUCKY AVE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               WOODLAND                           CA       95776
                                                                                               City                               State    ZIP Code


                                                                                               Country


              State what the contract or
       2.7                                                                                     BUHLER COMMERCIAL CONSTRUCTION
              lease is for and the nature   UC BERKLEY RESTROOMS
              of the debtor’s interest                                                         Name

                                                                                               JIN TANG/STEVE BUHLER
                                                                                               Notice Name

                                                                                               400 BRANNAN STREET, SUITE 204
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SAN FANCISCO                       CA       94107
                                                                                               City                               State    ZIP Code


                                                                                               Country


              State what the contract or
       2.8                                                                                     BULKLEY VALLEY ENGINEERING SERVICES LTD.
              lease is for and the nature   BVES OFFICE
              of the debtor’s interest                                                         Name

                                                                                               EERIK LILLES
                                                                                               Notice Name

                                                                                               3763 1 AVE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SMITHERS                           BC       V0J 2N0
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 3 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 160 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or    PURCHASE ORDER FOR TOTAL AMOUNT OF
       2.9                                                                                     CANADIAN FOREST PRODUCTS LTD.
              lease is for and the nature   $13,795,897.50
              of the debtor’s interest                                                         Name


                                                                                               Notice Name

                                                                                               1700 W 75TH AVE #100
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               VANCOUVER                          BC       V6P 6G2
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.10                                                                                     CISCO SYSTEMS CAPITAL CANADA CO
              lease is for and the nature   CISCO HYPERFLEX SERVER CLUSTER
              of the debtor’s interest                                                         Name

                                                                                               JEFF RODRIGUEZ
                                                                                               Notice Name

                                                                                               181 BAY ST, SUITE 3400 BAY TOWER
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               TORONTO                            ON       M5J 2T3
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.11                                                                                     DAVE BROUGHAM
              lease is for and the nature   EMPLOYMENT AGREEMENT
              of the debtor’s interest                                                         Name


                                                                                               Notice Name

                                                                                               ADDRESS ON FILE
              State the term remaining                                                         Address



              List the contract number of
              any government contract




                                                                                               City                               State    ZIP Code


                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 4 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 161 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.12                                                                                     DENARK CONSTRUCTION
              lease is for and the nature   KNOXVILLE MULTI-USE STADIUM
              of the debtor’s interest                                                         Name

                                                                                               MOHAMED ABBAS
                                                                                               Notice Name

                                                                                               1635 WESTERN AVE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               KNOXVILLE                          TN       37921
                                                                                               City                               State    ZIP Code


                                                                                               Country


              State what the contract or
      2.13                                                                                     DPR CONSTRUCTION
              lease is for and the nature   SONOMA PERF ARTS CTR
              of the debtor’s interest                                                         Name

                                                                                               DANIEL BERSON
                                                                                               Notice Name

                                                                                               1450 VETERANS BLVD.
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               REDWOOD                            CA       94063
                                                                                               City                               State    ZIP Code


                                                                                               Country


              State what the contract or
      2.14                                                                                     DURWEST CONSTRUCTION MANAGEMENT INC.
              lease is for and the nature   RRU WEST SHORE CAMPUS
              of the debtor’s interest                                                         Name

                                                                                               TOM HOWE
                                                                                               Notice Name

                                                                                               401 - 655 TYEE ROAD
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               VICTORIA                           BC       V9A 6X5
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 5 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 162 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.15                                                                                     EAGLE HOMES SALES LTD.
              lease is for and the nature   OK FALLS-WALLIS RD. LEASE
              of the debtor’s interest                                                         Name

                                                                                               JODI BLAND
                                                                                               Notice Name

                                                                                               120 HARBOURFRONT DRIVE NE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SALMON ARM                         BC       V1E 2T3
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.16                                                                                     FFD DEVITO INVESTMENTS LTD.
              lease is for and the nature   OLIVER FACILITY LEASE
              of the debtor’s interest                                                         Name

                                                                                               FRANK DEVITO
                                                                                               Notice Name

                                                                                               7789 MUNROE CRESCENT
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               VANCOUVER                          BC       V5S 3J9
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.17                                                                                     FORD CREDIT CANADA LEASING
              lease is for and the nature   FORD F150 - 2019
              of the debtor’s interest                                                         Name


                                                                                               Notice Name

                                                                                               198 PARKWAY PLACE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               PENTICTON                          BC       V2A 8G8
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 6 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 163 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.18                                                                                     FRED SHEARER & SONS, INC,
              lease is for and the nature   WLLLAMETE WTP
              of the debtor’s interest                                                         Name

                                                                                               JEFF GOEMMEL
                                                                                               Notice Name

                                                                                               8015 SW HUNZIKER ROAD
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               TIGARD                             OR       97223
                                                                                               City                               State    ZIP Code


                                                                                               Country


              State what the contract or
      2.19                                                                                     GLASSTEP CONSULTING INC.
              lease is for and the nature   PROPOSAL
              of the debtor’s interest                                                         Name


                                                                                               Notice Name

                                                                                               5796 RICHARDS CRESCENT
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               VERNON                             BC       V1B 3R1
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.20                                                                                     HENSEL PHELPS CONSTRUCTION CO.
              lease is for and the nature   RBOC CANOPY
              of the debtor’s interest                                                         Name

                                                                                               JORDAN KENNEDY
                                                                                               Notice Name

                                                                                               420 SIXTH AVENUE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               GREELEY                            CO       80631
                                                                                               City                               State    ZIP Code


                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 7 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 164 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.21                                                                                     JE DUNN CONSTRUCTION
              lease is for and the nature   THEODORE ROOSEVELT PRESIDENTIAL LIBRARY
              of the debtor’s interest                                                         Name

                                                                                               RYAN CHRISTENSON
                                                                                               Notice Name

                                                                                               766 ELKS DRIVE, SUITE B
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               DICKINSON                          ND       5B601
                                                                                               City                               State    ZIP Code


                                                                                               Country


              State what the contract or
      2.22                                                                                     JIM PATTISON INDUSTRIES LTD. DBA JIM PATTISON LEASE
              lease is for and the nature   2020 TOYOTA TACOMA - GREY
              of the debtor’s interest                                                         Name

                                                                                               LANA PROKOPUIK
                                                                                               Notice Name

                                                                                               4937 REGENT ST.
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               BURNABY                            BC       V5C 4H4
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.23                                                                                     JIM PATTISON INDUSTRIES LTD. DBA JIM PATTISON LEASE
              lease is for and the nature   2021 NISSAN MURANO AWD
              of the debtor’s interest                                                         Name

                                                                                               LANA PROKOPUIK
                                                                                               Notice Name

                                                                                               4937 REGENT ST.
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               BURNABY                            BC       V5C 4H4
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 8 of 18
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    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.24                                                                                     JIM PATTISON INDUSTRIES LTD. DBA JIM PATTISON LEASE
              lease is for and the nature   GMC SIERRA 1500 - 2020
              of the debtor’s interest                                                         Name

                                                                                               LANA PROKOPUIK
                                                                                               Notice Name

                                                                                               4937 REGENT ST.
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               BURNABY                            BC       V5C 4H4
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.25                                                                                     JIM PATTISON INDUSTRIES LTD. DBA JIM PATTISON LEASE
              lease is for and the nature   HYUNDAI KONA - 2019
              of the debtor’s interest                                                         Name

                                                                                               LANA PROKOPUIK
                                                                                               Notice Name

                                                                                               4937 REGENT ST.
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               BURNABY                            BC       V5C 4H4
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.26                                                                                     JIM PATTISON INDUSTRIES LTD. DBA JIM PATTISON LEASE
              lease is for and the nature   TOYOTA TUNDRA - 2022
              of the debtor’s interest                                                         Name

                                                                                               LANA PROKOPUIK
                                                                                               Notice Name

                                                                                               4937 REGENT ST.
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               BURNABY                            BC       V5C 4H4
                                                                                               City                               State    ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 9 of 18
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    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.27                                                                                     JIM PATTISON INDUSTRIES LTD. DBA JIM PATTISON LEASE
              lease is for and the nature   WHITE TOYOTA TUNDRA - 2017
              of the debtor’s interest                                                         Name

                                                                                               LANA PROKOPUIK
                                                                                               Notice Name

                                                                                               4937 REGENT ST.
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               BURNABY                            BC        V5C 4H4
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.28                                                                                     JOURNEY GROUP COMPANIES
              lease is for and the nature   CHERAPA IV
              of the debtor’s interest                                                         Name

                                                                                               JOE NIEWOHNER
                                                                                               Notice Name

                                                                                               4500 WEST 58TH STREET
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SIOUX FALLS                        SD        57108
                                                                                               City                               State     ZIP Code


                                                                                               Country


              State what the contract or
      2.29                                                                                     KERR PROPERTIES LTD.
              lease is for and the nature   OK FALLS-1675 MAPLE ST. LEASE
              of the debtor’s interest                                                         Name


                                                                                               Notice Name

                                                                                               2300 - 550 BURRARD STREET
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               VANCOUVER                          BC        V6C 2B5
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 10 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 167 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.30                                                                                     LEAVITT MACHINERY
              lease is for and the nature   TAYLOR FORKLIFT S/N GT100L
              of the debtor’s interest                                                         Name

                                                                                               DARIN BODNAR
                                                                                               Notice Name

                                                                                               110-801 WADDINGTON DR
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               VERNON                             BC        V1T 8T5
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country


                                                                                               LEAVITT MACHINERY GENERAL PARTNERSHIP DBA LEAVITT
      2.31 State what the contract or                                                          MACHINERY
           lease is for and the nature      C2200 COMBILIFT S/N 48077
           of the debtor’s interest                                                            Name

                                                                                               JOHN MUTIS
                                                                                               Notice Name

                                                                                               #201 – 19433 96TH AVENUE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SURREY                             BC        V4N 4C4
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country


                                                                                               LEAVITT MACHINERY GENERAL PARTNERSHIP DBA LEAVITT
      2.32 State what the contract or                                                          MACHINERY
           lease is for and the nature      CAT GP55N1 FORKLIFT S/N AT33CO90319
           of the debtor’s interest                                                            Name

                                                                                               JOHN MUTIS
                                                                                               Notice Name

                                                                                               #201 – 19433 96TH AVENUE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SURREY                             BC        V4N 4C4
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 11 of 18
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    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
                                                                                               LEAVITT MACHINERY GENERAL PARTNERSHIP DBA LEAVITT
      2.33 State what the contract or                                                          MACHINERY
           lease is for and the nature      C2200 COMBILIFT S/N 43302
           of the debtor’s interest                                                            Name

                                                                                               JOHN MUTIS
                                                                                               Notice Name

                                                                                               24389 FRASER HIGHWAY
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               LANGLEY                            BC        V2Z 2L3
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country


                                                                                               LEAVITT MACHINERY GENERAL PARTNERSHIP DBA LEAVITT
      2.34 State what the contract or                                                          MACHINERY
           lease is for and the nature      CATERPILLAR FORKLIFT S/N GP50CN1
           of the debtor’s interest                                                            Name

                                                                                               DARIN BODNAR
                                                                                               Notice Name

                                                                                               24389 FRASER HIGHWAY
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               LANGLEY                            BC        V2Z 2L3
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country


                                                                                               LEAVITT MACHINERY GENERAL PARTNERSHIP DBA LEAVITT
      2.35 State what the contract or                                                          MACHINERY
           lease is for and the nature      HYUNDAI FORKLIFT S/N 80D-9
           of the debtor’s interest                                                            Name

                                                                                               JOHN MUTIS
                                                                                               Notice Name

                                                                                               24389 FRASER HIGHWAY
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               LANGLEY                            BC        V2Z 2L3
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 12 of 18
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    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.36                                                                                     LEVEL 10 CONSTRUCTION LP
              lease is for and the nature   GOOGLE YOUTUBE SBO PHASE 1
              of the debtor’s interest                                                         Name

                                                                                               SHIRLEY SAN DIEGO/ DOUG COLLINS
                                                                                               Notice Name

                                                                                               1050 ENTERPRISE WAY, SUITE 250
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SUNNYVALE                          CA        94089
                                                                                               City                               State     ZIP Code


                                                                                               Country


              State what the contract or
      2.37                                                                                     MDM CONSTRUCTION CO LTD
              lease is for and the nature   PARK VISTA
              of the debtor’s interest                                                         Name

                                                                                               STEVE REMPEL
                                                                                               Notice Name

                                                                                               2-6285 205TH STREET
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               LANGLEY                            BC        V2Y 1N7
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.38                                                                                     MERIDIAN ONECAP CREDIT CORP.
              lease is for and the nature   PHOTOCOPIERS (10)
              of the debtor’s interest                                                         Name


                                                                                               Notice Name

                                                                                               4710 KINGSWAY, SUITE 1500
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               BURNABY                            BC        V5H 4M2
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 13 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 170 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.39                                                                                     MERIDIAN ONECAP CREDIT CORP.
              lease is for and the nature   PHOTOCOPIERS (2)
              of the debtor’s interest                                                         Name


                                                                                               Notice Name

                                                                                               4710 KINGSWAY, SUITE 1500
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               BURNABY                            BC        V5H 4M2
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.40                                                                                     METROPOLITAN WALTERS LLC
              lease is for and the nature   HIGH LINE CONNECTOR
              of the debtor’s interest                                                         Name

                                                                                               DAVID PSACRITA
                                                                                               Notice Name

                                                                                               214 W 29TH STREET
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               NEW YORK                           NY        10001
                                                                                               City                               State     ZIP Code


                                                                                               Country


              State what the contract or
      2.41                                                                                     MINGLIAN GROUP
              lease is for and the nature   TERRALEX WINERY
              of the debtor’s interest                                                         Name

                                                                                               ALEX ZHANG
                                                                                               Notice Name

                                                                                               760 W GEORGIA
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               VANCOUVER                          BC        V6E 4E6
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 14 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 171 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.42                                                                                     RICHARD HANCOCK, INC.
              lease is for and the nature   VA YOUNTVILLE
              of the debtor’s interest                                                         Name

                                                                                               ISAAC LAMAR
                                                                                               Notice Name

                                                                                               1029 THIRD STREET
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SANTA ROSA                         CA        95404
                                                                                               City                               State     ZIP Code


                                                                                               Country


              State what the contract or
      2.43                                                                                     RICHARD HANCOCK, INC.
              lease is for and the nature   VA YOUNTVILLE
              of the debtor’s interest                                                         Name

                                                                                               ISAAC LAMAR
                                                                                               Notice Name

                                                                                               1029 THIRD STREET
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SANTA ROSA                         CA        95404
                                                                                               City                               State     ZIP Code


                                                                                               Country


              State what the contract or
      2.44                                                                                     RITCHIE CONTRACTING & DESIGN LTD.
              lease is for and the nature   FALLING ROCK RESIDENCE
              of the debtor’s interest                                                         Name

                                                                                               JESSICA ROBINSON
                                                                                               Notice Name

                                                                                               #104, 198 WINNIPEG ST
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               PENTICTON                          BC        V2A 5M1
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 15 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 172 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.45                                                                                     SWAYBACK HOLDINGS1983 LTD.
              lease is for and the nature   PENTICTON FACILITY LEASE
              of the debtor’s interest                                                         Name

                                                                                               MATTHEW GEORGE KENYON, PRESIDENT
                                                                                               Notice Name

                                                                                               402 WARREN AVENUE EAST
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               PENTICTON                          BC        V2A 3M2
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country


              State what the contract or
      2.46                                                                                     TIMBERLYNE GROUP
              lease is for and the nature   CELINA POLICE
              of the debtor’s interest                                                         Name

                                                                                               BEN DUCKWORTH
                                                                                               Notice Name

                                                                                               613 HWY 46 E
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               BOERNE                             TX        78006
                                                                                               City                               State     ZIP Code


                                                                                               Country


              State what the contract or
      2.47                                                                                     TREATY CONSTRUCTION
              lease is for and the nature   GOLDEN GATE PARK GOLF CLUBHOUSE
              of the debtor’s interest                                                         Name

                                                                                               BARRY DOHERTY
                                                                                               Notice Name

                                                                                               2278 44TH AVENUE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SAN FRANCISCO                      CA        94116
                                                                                               City                               State     ZIP Code


                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 16 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 173 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.48                                                                                     UNITED STEELWORKERS (USW)
              lease is for and the nature   COLLECTIVE BARGAINING AGREEMENT
              of the debtor’s interest                                                         Name

                                                                                               DAVID R. JURY, ESQUIRE
                                                                                               Notice Name

                                                                                               60 BOULEVARD OF THE ALLIES, ROOM 807
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               PITTSBURGH                         PA        15222
                                                                                               City                               State     ZIP Code


                                                                                               Country


              State what the contract or
      2.49                                                                                     UNITED STEELWORKERS (USW)
              lease is for and the nature   COLLECTIVE BARGAINING AGREEMENT
              of the debtor’s interest                                                         Name

                                                                                               SUSAN E. KAUFMAN, ESQUIRE
                                                                                               Notice Name

                                                                                               919 N. MARKET STREET, SUITE 460
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               WILMINGTON                         DE        19801
                                                                                               City                               State     ZIP Code


                                                                                               Country


              State what the contract or
      2.50                                                                                     URBAN ONE SPECIAL PROJECTS INC.
              lease is for and the nature   COWICHAN SECONDARY
              of the debtor’s interest                                                         Name

                                                                                               WENDY CHAN
                                                                                               Notice Name

                                                                                               50 WEST 7TH AVENUE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               VANCOUVER                          BC        V5Y 1L6
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 17 of 18
                                   Case 23-10499-CTG                 Doc 5      Filed 05/22/23           Page 174 of 192
    Debtor:    Structurlam Mass Timber Corporation                                                    Case number (if known):   23-10499
               Name
              State what the contract or
      2.51                                                                                     WESTERN PARTITIONS INC.
              lease is for and the nature   ASANTE CANOPY
              of the debtor’s interest                                                         Name

                                                                                               JAMES COE
                                                                                               Notice Name

                                                                                               4745 PACIFIC AVE
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               EUGENE                             OR        97402
                                                                                               City                               State     ZIP Code


                                                                                               Country


              State what the contract or
      2.52                                                                                     ZENTERRA DEVELOPMENTS
              lease is for and the nature   ZENTERRA APARTMENTS
              of the debtor’s interest                                                         Name

                                                                                               CHRIS MUNRO
                                                                                               Notice Name

                                                                                               216-2630 CROYDON DR
              State the term remaining                                                         Address



              List the contract number of
              any government contract


                                                                                               SURREY                             BC        V3Z 6T3
                                                                                               City                               State     ZIP Code
                                                                                               CANADA
                                                                                               Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                  Page 18 of 18
                                  Case 23-10499-CTG                     Doc 5      Filed 05/22/23             Page 175 of 192


Fill in this information to identify the case:

Debtor Name: In re : Structurlam Mass Timber Corporation

United States Bankruptcy Court for the: District of Delaware
                                                                                                                                            Check if this is an
Case number (if known): 23-10499 (CTG)                                                                                                      amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.


1.   Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
     5Yes

2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
     Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is
     listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.


            Column 1: Codebtor                                                                                 Column 2: Creditor

                                                                                                                                                  Check all schedules
           Name                                Mailing address                                                 Name
                                                                                                                                                  that apply:

       2.1 Natural Outcomes, LLC               2176 Government Street                                          Bank of Montreal                   5D
                                               Street

                                                                                                                                                    E/F


                                                                                                                                                    G


                                               Penticton                 BC                     V2A 8B5
                                               City                      State                  ZIP Code



                                               Country


       2.2 SLP Holdings Ltd.                   2176 Government Street                                          Bank of Montreal                   5D
                                               Street

                                                                                                                                                    E/F


                                                                                                                                                    G


                                               Penticton                 BC                     V2A 8B5
                                               City                      State                  ZIP Code



                                               Country




 Official Form 206H                                                 Schedule H: Codebtors                                                               Page 1 of 2
                               Case 23-10499-CTG                    Doc 5      Filed 05/22/23             Page 176 of 192
Debtor:   Structurlam Mass Timber Corporation                                                  Case number (if known):   23-10499
          Name
     2.3 Structurlam Mass Timber U.S.,     2176 Government Street                                          Bank of Montreal         5D
         Inc.
                                           Street

                                                                                                                                      E/F


                                                                                                                                      G


                                           Penticton                 BC                    V2A 8B5
                                           City                      State                 ZIP Code



                                           Country


     2.4 Walmart Inc.                      c/o Greenberg Traurig, LLP, ATTN: Dennis A Meloro               Bank of Montreal           D
                                           Street

                                           222 Delaware Avenue,Suite 1600                                                           5 E/F


                                                                                                                                      G


                                           Wilmington                DE                    19801
                                           City                      State                 ZIP Code



                                           Country




Official Form 206H                                               Schedule H: Codebtors                                                    Page 2 of 2
                                 Case 23-10499-CTG                     Doc 5            Filed 05/22/23               Page 177 of 192
Fill in this information to identify the case:

Debtor Name: In re : Structurlam Mass Timber Corporation

United States Bankruptcy Court for the: District of Delaware

Case number (if known): 23-10499 (CTG)



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


            Declaration and signature


           I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
           individual serving as a representative of the debtor in this case.

           I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


           5     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

           5     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


           5     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

           5     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

           5     Schedule H: Codebtors (Official Form 206H)

           5     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration




           I declare under penalty of perjury that the foregoing is true and correct.


           Executed on      05/22/2023                                                  µ / s / Shawn Turkington
                            MM / DD / YYYY                                                 Signature of individual signing on behalf of debtor




                                                                                           Shawn Turkington
                                                                                           Printed name

                                                                                           Interim Chief Financial Officer

                                                                                           Position or relationship to debtor




  Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors
                                                In re: Structurlam Mass Timber Corporation
                                                              Case No. 23-10499
                                                                 Schedule A/B 47
                                      Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles



                                                                   Identification Number Net book value of Valuation method
                                                                   (i.e. VIN, HIN or N-    debtor's interest    used for current   Current value of
Year      Make          Model                                      number)                 (where available) value                 debtor's interest
2004      Caterpillar   Model 027FG45 forklift S/N 10078           AT29C50278                             $0.00                        Undetermined
2005      Caterpillar   Model GP4JKLI forklift S/N AT29C50278      AT17C00372                             $0.00                        Undetermined
2005      Club Car      Golf Cart 1                                PRO537546685                           $0.00                        Undetermined
2005      Club Car      Golf Cart 2                                PRO537546686                           $0.00                        Undetermined
2012      Chevrolet     Tahoe                                      1GNSK2E08CR118635                      $0.00                        Undetermined
2018      Hyundai       70D-7E forklift                            HFZ11CC0001455                    $9,701.39                         Undetermined
Unknown   Club Car      Golf Cart 3                                PRO635672522                      $3,326.79                         Undetermined
Unknown   Toyota        027FG45                                    10078                                  $0.00                        Undetermined
                                                                                                                                                       Case 23-10499-CTG




                                                                                    TOTAL:          $13,028.18              TOTAL:    Undetermined
                                                                                                                                                       Doc 5
                                                                                                                                                       Filed 05/22/23
                                                                                                                                                       Page 178 of 192




                                                                    Page 1 of 1
                                                            In re: Structurlam Mass Timber Corporation
                                                                          Case No. 23-10499
                                                                           Schedule A/B 50
                                                                Other machinery, fixtures, and equipment




                                                                                                           Net book value of Valuation method
                                                                                                           debtor's interest used for current   Current value of
Description                                                                                                (where available) value              debtor's interest
 (3/4" X.020-.023) MANUAL STEEL STRAPPINGTOOL - COOP                                                                   $936.35                      Undetermined
 MI-91700 Bandsaw, Wood - Maple                                                                                      $2,777.87                      Undetermined
10 Layer Stack Upgrade - COOP                                                                                          $407.04                      Undetermined
10 Layer Stack Upgrade #2 - COOP                                                                                       $149.82                      Undetermined
10-Tonne Bridge Crane - Wallis                                                                                     $41,170.57                       Undetermined
2 Heaters - COOP                                                                                                         $0.00                      Undetermined
2 Humidifiers - OK F - Maple                                                                                            $77.85                      Undetermined
2 STIHL Chainsaws 3/4 - Maple                                                                                          $919.65                      Undetermined
200A Switch - Crane Feed - Wallis                                                                                       $47.78                      Undetermined
4/6 Line - Maple - Parent - Maple                                                                                        $0.00                      Undetermined
4/6 Line Softstarter - Maple                                                                                         $3,774.63                      Undetermined
4/6 Line Upgrade - Maple                                                                                           $11,821.17                       Undetermined
AED - Maple                                                                                                            $195.91                      Undetermined
                                                                                                                                                                    Case 23-10499-CTG




Air Reel - Hovercraft #1 - COOP                                                                                        $150.56                      Undetermined
Angle Drill - Maple                                                                                                    $178.42                      Undetermined
Band saw - Maple                                                                                                       $887.91                      Undetermined
Band saw x2 - Maple                                                                                                  $1,381.81                      Undetermined
Bander - Government                                                                                                  $1,895.22                      Undetermined
                                                                                                                                                                    Doc 5




Bander - Maple                                                                                                         $845.63                      Undetermined
Bander - Maple                                                                                                       $4,844.18                      Undetermined
Bander - Maple                                                                                                       $1,832.10                      Undetermined
Bandsaw with dust collection pick up - Maple                                                                           $303.32                      Undetermined
Bending Jig - Maple                                                                                                $21,234.75                       Undetermined
BIG MASTER PLANER - MAPLE - PARENT - Maple                                                                               $0.00                      Undetermined
Bindicator - Maple                                                                                                     $466.12                      Undetermined
Bindicator light install, Sawdust silencer - Wallis                                                                  $1,510.61                      Undetermined
Binford - Maple - Parent - Maple                                                                                         $0.00                      Undetermined
Binford Fingerjoint (FJ) line - Maple                                                                                    $0.00                      Undetermined
Binford Upgrade - Maple                                                                                                  $0.01                      Undetermined
                                                                                                                                                                    Filed 05/22/23




Binford Upgrade - Maple                                                                                                $484.83                      Undetermined
Binford Upgrade & LB - Maple                                                                                             $0.01                      Undetermined
Binford Upgrade & LB - Maple                                                                                             $0.01                      Undetermined
Binford Upgrade additional - Maple                                                                                   $4,924.62                      Undetermined
Binford Upgrade and Labour - Nov - Maple                                                                                 $0.01                      Undetermined
Binford Upgrade,Motor for turn table - Maple                                                                             $0.00                      Undetermined
Biofuel Heating system - Maple                                                                                           $0.00                      Undetermined
Biomass Boider - Refracory - MS - Maple                                                                              $1,271.63                      Undetermined
Biomass Heating System - Maple - PARENT - Maple                                                                          $0.00                      Undetermined
Blanket Heater for Minda - Maple                                                                                       $417.82                      Undetermined
Blow Down Station - WR - Wallis                                                                                        $218.87                      Undetermined
Cameras - COOP                                                                                                         $369.52                      Undetermined
                                                                                                                                                                    Page 179 of 192




CHAIN BEAM SAW - Maple                                                                                               $1,014.29                      Undetermined
Chain Mortiser & Chain Beam Saw - Government                                                                         $6,359.48                      Undetermined
Chain Saw - Maple                                                                                                      $308.25                      Undetermined
Chain Saw and Bar - Gas Powered Portable for Yard - Maple                                                              $534.72                      Undetermined
Chain Saw/Impact Wrench - Government                                                                                   $603.19                      Undetermined
Chainsaw - COOP                                                                                                        $272.08                      Undetermined
Chainsaw - Government                                                                                                  $120.27                      Undetermined
Chainsaw - Wallis                                                                                                      $153.88                      Undetermined




                                                                             Page 1 of 6
                                                                                    In re: Structurlam Mass Timber Corporation
                                                                                                  Case No. 23-10499
                                                                                                    Schedule A/B 50
                                                                                         Other machinery, fixtures, and equipment




                                                                                                                                                  Net book value of Valuation method
                                                                                                                                                  debtor's interest used for current   Current value of
Description                                                                                                                                       (where available) value              debtor's interest
chainsaw cutting guide - Maple                                                                                                                                $468.07                      Undetermined
Circular Saw - COOP                                                                                                                                            $99.11                      Undetermined
Circular Saw - Wallis                                                                                                                                         $720.79                      Undetermined
Circular Saw/Crimper for Steel Bander - COOP                                                                                                                  $825.03                      Undetermined
CLT Press - Maple - Parent - Maple                                                                                                                              $0.00                      Undetermined
CLT Press Safety Controls - Maple                                                                                                                             $639.82                      Undetermined
CLT Press, - Maple                                                                                                                                              $0.00                      Undetermined
CNC machine Hundegger PBA - Wallis                                                                                                                              $0.00                      Undetermined
CNC machine Hundegger PBA - Wallis                                                                                                                     $1,227,563.49                       Undetermined
Comperssor System - Maple                                                                                                                                 $16,456.15                       Undetermined
Compressed Air System - 2 Curtis Model RS/30 rotary screw aircompressors, air dryers, all pipes, fittings, drops andaccessories - Government                    $0.00                      Undetermined
Compressed Air System - Govt - Parent - Government                                                                                                              $0.00                      Undetermined
Compressed Air System - Maple                                                                                                                                   $0.00                      Undetermined
                                                                                                                                                                                                           Case 23-10499-CTG




COMPRESSED AIR SYSTEM - PARENT - COOP MEARL'S - COOP                                                                                                            $0.00                      Undetermined
Compressed Air System - Wallis - Parent - Wallis                                                                                                                $0.00                      Undetermined
COMPRESSED AIR SYSTEMS - MAPLE - PARENT - Maple                                                                                                                 $0.00                      Undetermined
Compressor - COOP                                                                                                                                           $8,236.50                      Undetermined
Compressor - Government                                                                                                                                   $28,940.55                       Undetermined
                                                                                                                                                                                                           Doc 5




Compressor - Maple                                                                                                                                        $12,695.96                       Undetermined
Compressor - Wallis                                                                                                                                         $6,425.82                      Undetermined
Compressor - Wallis                                                                                                                                         $3,090.46                      Undetermined
Compressor Replacement - Maple                                                                                                                              $8,366.76                      Undetermined
Computer Equipment - Maple - Maple                                                                                                                              $0.00                      Undetermined
Copressor Upgrade - COOP                                                                                                                                    $1,915.97                      Undetermined
Cordless Drill - Government                                                                                                                                     $0.00                      Undetermined
Crane 3 and 4 - Maple                                                                                                                                     $42,469.50                       Undetermined
CRANES - GOVT - PARENT - Government                                                                                                                             $0.00                      Undetermined
Cranes - Lot of 26 Kito (or similar) 2 ton electric chain hoistscomplete with 2 ton trolley and pendent controller - Government                           $49,024.58                       Undetermined
Cranes - Maple - Parent - Maple                                                                                                                                 $0.00                      Undetermined
                                                                                                                                                                                                           Filed 05/22/23




Cranes - Wallis - Wallis                                                                                                                                        $0.00                      Undetermined
Cranes , Lot of 2 +-58' long 2 tonne monorails each - Maple                                                                                                 $6,067.10                      Undetermined
Cranes 1 and 2 - Maple                                                                                                                                    $51,977.82                       Undetermined
Creno - Govt - PARENT - Government                                                                                                                              $0.00                      Undetermined
Creno imp AUC to CAP - Government                                                                                                                               $0.00                      Undetermined
Creno Stops - Government                                                                                                                                        $0.00                      Undetermined
Creno Upgrade - Government                                                                                                                                      $0.00                      Undetermined
Creno Upgrade - Government                                                                                                                               $104,070.46                       Undetermined
Creno Upgrade - Government                                                                                                                                $50,635.51                       Undetermined
Creno Upgrade additional - Government                                                                                                                         $333.66                      Undetermined
December addition - Government                                                                                                                              $1,734.12                      Undetermined
December addition - Maple                                                                                                                                       $0.00                      Undetermined
                                                                                                                                                                                                           Page 180 of 192




December addition - Maple                                                                                                                                   $1,044.30                      Undetermined
Distributor Yard - Maple - PARENT - Maple                                                                                                                       $0.00                      Undetermined
Distributor yard crane addition - Maple                                                                                                                     $1,744.42                      Undetermined
Distrubutor Yard Crane - Maple                                                                                                                            $11,891.46                       Undetermined
Dumping bins - Government                                                                                                                                     $437.90                      Undetermined
Dumping bins, radios - Government                                                                                                                             $734.15                      Undetermined
Dust Collection - dust collection equipment throughout the facilityincluding blowers, cyclone, sawdust bin, piping, fittings, etc. - Government           $23,604.39                       Undetermined
Dust Collection - Govt - PARENT - Government                                                                                                                    $0.00                      Undetermined




                                                                                                        Page 2 of 6
                                                                                       In re: Structurlam Mass Timber Corporation
                                                                                                     Case No. 23-10499
                                                                                                        Schedule A/B 50
                                                                                             Other machinery, fixtures, and equipment




                                                                                                                                        Net book value of Valuation method
                                                                                                                                        debtor's interest used for current   Current value of
Description                                                                                                                             (where available) value              debtor's interest
Dust Collection - Maple                                                                                                                        $161,788.57                       Undetermined
Dust Collection - Maple - Parent - Maple                                                                                                              $0.00                      Undetermined
Dust Collection - Wallis - Parent - Wallis                                                                                                            $0.00                      Undetermined
Dust Collector Bin Cameras - Wallis                                                                                                                 $558.58                      Undetermined
Dust collector camera/Misc tools - MS - Maple                                                                                                       $738.69                      Undetermined
dust collector with blower - Maple                                                                                                                  $151.66                      Undetermined
Dust Collector x2 - Maple                                                                                                                           $306.81                      Undetermined
Electical - Bond Cable Tray for Sander & Dust Collection System - Maple                                                                           $2,723.98                      Undetermined
Electric Power Distribution - Maple                                                                                                            $169,878.00                       Undetermined
Electric Power Distribution - transformers, safety switches, splitters, wiring, etc. - Government                                               $36,314.54                       Undetermined
Electric Sensors - Maple                                                                                                                            $160.19                      Undetermined
Electrical - Connect to New 4/6 plc - Maple                                                                                                       $3,597.85                      Undetermined
Electrical - Maple - PARENT - Maple                                                                                                                   $0.00                      Undetermined
                                                                                                                                                                                                 Case 23-10499-CTG




End mill for PBA, sawdust bin - Wallis                                                                                                            $7,792.59                      Undetermined
Extra Capacity Upgrade - COOP                                                                                                                         $0.00                      Undetermined
Extra Hoist for Crane - Government                                                                                                                $2,078.15                      Undetermined
Finishing Yard - SP (moved from AUC) Used crane installed - Maple                                                                               $86,050.73                       Undetermined
Fr for warranty Repair of Radios - Government                                                                                                         $7.73                      Undetermined
                                                                                                                                                                                                 Doc 5




Glue JIG line - Maple                                                                                                                           $44,983.27                       Undetermined
Glue Line A/C - SP - Maple                                                                                                                           $50.66                      Undetermined
Glue mixer - Maple                                                                                                                                $4,029.67                      Undetermined
Glue mixer (additional costs for the mixed above) - Maple                                                                                         $1,565.99                      Undetermined
Glueline Bolts - MS - Maple                                                                                                                           $0.00                      Undetermined
Glueline Improvements - SP - Maple                                                                                                                $1,866.79                      Undetermined
Glulam CNC Machine CRENO LAMELLE 5-AXIS CNC - Government                                                                                              $0.00                      Undetermined
Glulam Glue Line - Maple - Parent - Maple                                                                                                             $0.00                      Undetermined
Gluline Upgrade - MS - Maple                                                                                                                      $1,416.89                      Undetermined
Grinder - Maple - Parent - Maple                                                                                                                      $0.00                      Undetermined
Grinder - MS - Maple                                                                                                                            $18,165.83                       Undetermined
                                                                                                                                                                                                 Filed 05/22/23




Grinder install - MS - Maple                                                                                                                        $662.30                      Undetermined
Heater Install - COOP                                                                                                                                 $0.00                      Undetermined
Hexion Glue App System - SP (from AUC) - Maple                                                                                                  $45,589.56                       Undetermined
Hoffmann-BH Edge Lipping Planer - Government                                                                                                        $156.55                      Undetermined
Hopper Self Dumping Bin - Nov 2020 - Wallis                                                                                                       $1,195.49                      Undetermined
Hopper Self-Dump - Government                                                                                                                       $123.93                      Undetermined
Hopper Self-Dump - Maple                                                                                                                            $715.64                      Undetermined
Hopper self-Dump Bin - Government                                                                                                                     $0.00                      Undetermined
Hopper Self-Dump for Grinder - Maple                                                                                                              $1,719.68                      Undetermined
Hovercrafts - Coop - Parent - COOP                                                                                                                    $0.00                      Undetermined
Humidifier Fans - Maple                                                                                                                             $630.50                      Undetermined
Humidifiers-SP (moved from AUC) - Maple                                                                                                              $41.26                      Undetermined
                                                                                                                                                                                                 Page 181 of 192




Humidity Control System - Maple - Parent - Maple                                                                                                      $0.00                      Undetermined
Impact Driver - Maple                                                                                                                             $1,732.02                      Undetermined
Impact Wrench - SP - Maple                                                                                                                           $26.12                      Undetermined
Impact Wrench - SP - Maple                                                                                                                           $26.12                      Undetermined
IP Camera-Inline Planer - Maple                                                                                                                      $44.10                      Undetermined
Jig Line Upgrade - Maple                                                                                                                          $2,651.77                      Undetermined
JLG MODEL 600A 600 ARTICULATING BOOM LIFT - Maple                                                                                                 $6,067.10                      Undetermined
Joulin Brake - Maple                                                                                                                                $662.16                      Undetermined




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                                                                           In re: Structurlam Mass Timber Corporation
                                                                                         Case No. 23-10499
                                                                                          Schedule A/B 50
                                                                               Other machinery, fixtures, and equipment




                                                                                                                          Net book value of Valuation method
                                                                                                                          debtor's interest used for current   Current value of
Description                                                                                                               (where available) value              debtor's interest
Joulin Brakes - Maple                                                                                                                  $75.11                      Undetermined
Joulin Lifter / Flying Joulin - Wallis                                                                                            $58,588.53                       Undetermined
K2 - Government                                                                                                                         $0.00                      Undetermined
K2 Upgrade - Government                                                                                                               $956.19                      Undetermined
Kito Chain Hoist - COOP                                                                                                             $4,207.23                      Undetermined
Kito Chain Hoist - COOP                                                                                                                $44.35                      Undetermined
Label Printer - Maple                                                                                                                 $794.90                      Undetermined
Ladder - Government                                                                                                                   $223.31                      Undetermined
Ladder - Maple                                                                                                                          $0.00                      Undetermined
LAMELLO F.PLANER - NP - Government                                                                                                    $522.70                      Undetermined
Laminating Blocks - Maple                                                                                                         $10,111.77                       Undetermined
Lumber Labeler & printer - Maple                                                                                                    $1,803.85                      Undetermined
Lumber Racks - GS - Government                                                                                                      $1,494.24                      Undetermined
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Mafell BST Drilling Station - Government                                                                                            $1,078.75                      Undetermined
Mafell BST Drilling Station - Maple                                                                                                   $488.87                      Undetermined
Mafell Chain Mortiser - Government                                                                                                  $3,351.09                      Undetermined
Maintenance Equipment - Govt - PARENT - Government                                                                                      $0.00                      Undetermined
maintenance radios - Maple                                                                                                            $129.79                      Undetermined
                                                                                                                                                                                   Doc 5




MAINTENANCE TOOLS - MAPLE - PARENT - Maple                                                                                              $0.00                      Undetermined
Makeup Air Unit ORMP - COOP                                                                                                           $334.78                      Undetermined
Maple Street - crosslam press pump, Yamada Pump - Maple                                                                                 $0.00                      Undetermined
Maple Street- Jig Line Rods - Maple                                                                                               $12,746.42                       Undetermined
MATERIAL RACKS - Maple                                                                                                                 $71.45                      Undetermined
Mill & Drill Machine - Maple                                                                                                        $1,135.07                      Undetermined
Miller Syncrowave 210 AC/DC TIG/Stick Welder with MIG Spool Gun - Wallis                                                            $3,457.36                      Undetermined
Misc QC Equipment - Maple                                                                                                             $505.61                      Undetermined
Mitre Saw - SP - Maple                                                                                                                  $6.59                      Undetermined
Mortiser - Government                                                                                                               $4,823.73                      Undetermined
MOULDER - MAPLE - PARENT - Maple                                                                                                        $0.00                      Undetermined
                                                                                                                                                                                   Filed 05/22/23




Moulder line - Maple                                                                                                                    $0.00                      Undetermined
Moved Racks - Government                                                                                                            $5,072.89                      Undetermined
Moving Chips to GS - Government                                                                                                     $1,078.36                      Undetermined
MS-Welding Machine - Maple                                                                                                          $1,038.58                      Undetermined
Mussell Crane Hoist Install - Government                                                                                          $11,903.12                       Undetermined
New Hydraulic Power Unit on Tesion Tester - Maple                                                                                   $4,943.37                      Undetermined
Nielson Tool Model Moulder - Maple                                                                                                  $2,022.33                      Undetermined
North fingerjoint line (4 6 line) - Maple                                                                                               $0.00                      Undetermined
NVR Cameras for WR - Wallis                                                                                                           $264.66                      Undetermined
Orbital Sander - Maple                                                                                                              $1,744.34                      Undetermined
Oven - Despatch lab oven - Maple                                                                                                      $606.72                      Undetermined
Oven -Shelolab style door - Maple                                                                                                     $707.79                      Undetermined
                                                                                                                                                                                   Page 182 of 192




Packaging Tools - Maple - Maple                                                                                                         $0.00                      Undetermined
Paint Sprayer - COOP                                                                                                                  $283.05                      Undetermined
Panel Flipper - Wallis                                                                                                           $381,083.14                       Undetermined
Panel Flipper - Wallis                                                                                                                $699.82                      Undetermined
Panel Flipper - WR - Wallis                                                                                                       $11,578.05                       Undetermined
PBA - Wallis - Parent - Wallis                                                                                                          $0.00                      Undetermined
PBA Outfeed Saw Parts - Wallis                                                                                                      $3,760.04                      Undetermined
PBA Parts - Wallis                                                                                                                    $214.30                      Undetermined




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                                                                   In re: Structurlam Mass Timber Corporation
                                                                                 Case No. 23-10499
                                                                                  Schedule A/B 50
                                                                       Other machinery, fixtures, and equipment




                                                                                                                  Net book value of Valuation method
                                                                                                                  debtor's interest used for current   Current value of
Description                                                                                                       (where available) value              debtor's interest
PBA Parts - Wallis                                                                                                          $4,352.07                      Undetermined
PBA Parts - Wallis                                                                                                          $2,270.64                      Undetermined
PBA Tool - Wallis                                                                                                           $4,032.44                      Undetermined
PBA Tools - SP - Wallis                                                                                                       $241.37                      Undetermined
Planer Head - Maple                                                                                                         $2,556.57                      Undetermined
Planer imprv - Maple                                                                                                      $11,393.40                       Undetermined
Planer, REX BigMaster, model BM 6/260 - Maple                                                                                   $0.00                      Undetermined
Portable Heaters - Maple                                                                                                      $482.14                      Undetermined
Portable Yard Chain Saw - 200MP-7-SS - Maple                                                                                $4,786.13                      Undetermined
Power bander - Maple                                                                                                          $523.42                      Undetermined
Pressure Mat Safety System - Maple                                                                                          $3,117.19                      Undetermined
QC Area Ancillary - Maple                                                                                                     $283.10                      Undetermined
QC Joint tester - Maple                                                                                                   $16,178.87                       Undetermined
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QC Moisture Meters - Maple                                                                                                      $3.49                      Undetermined
QC Moisture Meters, Blow down station, air impact wrench - Maple                                                              $453.63                      Undetermined
QC Oven - Maple                                                                                                             $2,864.63                      Undetermined
QC Tools - Maple - Parent - Maple                                                                                               $0.00                      Undetermined
QC-Lathe - Maple                                                                                                            $1,131.47                      Undetermined
                                                                                                                                                                           Doc 5




Racking - cantilever racking throughout the plant - Government                                                              $7,626.05                      Undetermined
RACKING / STORAGE - MAPLE - PARENT - Maple                                                                                      $0.00                      Undetermined
RACKING AND STORAGE - GOVT - PARENT - Government                                                                                $0.00                      Undetermined
Racking/Storage - Wallis - Wallis - Wallis                                                                                      $0.00                      Undetermined
Radio packs - COOP                                                                                                            $133.48                      Undetermined
Radio Packs - Maple                                                                                                            $15.72                      Undetermined
RADIO PACKS - SP - Maple                                                                                                      $202.95                      Undetermined
Radio Packs - WR - Wallis                                                                                                     $487.03                      Undetermined
Radio Packs/pallet jack/lumber printer//fence - Maple                                                                         $709.70                      Undetermined
Radios and other tools - Maple                                                                                                $817.74                      Undetermined
Rebuild Chainsaw on Outfeed of Rex Planer - Maple                                                                           $7,152.06                      Undetermined
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Rebuild Flipper - Wallis                                                                                                      $203.12                      Undetermined
Rex type planer - Maple                                                                                                   $10,111.77                       Undetermined
RH-1 Bindicator - Maple                                                                                                       $426.93                      Undetermined
Safety Rails 4/6 Line - Maple                                                                                                 $899.09                      Undetermined
Safety Redesign for Creno - Government                                                                                        $349.24                      Undetermined
Sander Floor 13x19" - Wallis                                                                                                $3,612.67                      Undetermined
Sarmax Sander - Maple - PARENT - Maple                                                                                   $601,012.86                       Undetermined
Saw - Government                                                                                                                $0.00                      Undetermined
Saw Blades - Maple                                                                                                              $0.00                      Undetermined
Saw Fencing - Maple                                                                                                           $167.31                      Undetermined
Sawdust Extraction Airtek - Wallis                                                                                              $0.00                      Undetermined
Sawdust Extraction Airtek - Wallis                                                                                       $537,167.36                       Undetermined
                                                                                                                                                                           Page 183 of 192




Sawzall - Maple                                                                                                               $141.26                      Undetermined
Seal Kit, Pump Lobe - SP - Maple                                                                                            $5,164.04                      Undetermined
Security Equipment - Wallis - Parent - Wallis                                                                                   $0.00                      Undetermined
Self Dumping Bins - Maple                                                                                                       $0.00                      Undetermined
Shear tester 1 - Maple                                                                                                      $1,011.20                      Undetermined
Small Tools - Coop - Parent - COOP                                                                                              $0.00                      Undetermined
Small Tools - Govt - PARENT - Government                                                                                        $0.00                      Undetermined
Small Tools - Maple - Parent - Maple                                                                                            $0.00                      Undetermined




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                                                  In re: Structurlam Mass Timber Corporation
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                                                      Other machinery, fixtures, and equipment




                                                                                                        Net book value of Valuation method
                                                                                                        debtor's interest used for current   Current value of
Description                                                                                             (where available) value              debtor's interest
Small Tools - Wallis - Parent - Wallis                                                                                $0.00                      Undetermined
Steel Racks - Wallis                                                                                                $299.33                      Undetermined
Steel Strapping Tool - Maple                                                                                          $0.00                      Undetermined
STIHL Chainsaw - Maple                                                                                              $695.69                      Undetermined
Storage Racks - Maple - Wallis                                                                                      $282.43                      Undetermined
Table Saw - COOP                                                                                                  $1,499.71                      Undetermined
Table Saw - Maple                                                                                                 $1,515.48                      Undetermined
table saw complete with guard and fence - Maple                                                                     $283.10                      Undetermined
Tidy Tank - Maple                                                                                                   $202.01                      Undetermined
Tidy Tank w/Pump - Wallis                                                                                           $395.67                      Undetermined
Tool Storage - Maple - Maple                                                                                        $127.63                      Undetermined
Tools - Maple                                                                                                     $1,434.84                      Undetermined
TOOLS and MISCELLANEOUS, MAPLE - Maple                                                                          $23,388.77                       Undetermined
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TOOLS and MISCELLANEOUS, OLIVER - COOP                                                                            $3,924.09                      Undetermined
TOOLS and MISCELLANEOUS, PENTICTON - Government                                                                 $25,558.78                       Undetermined
Tools Wallis - Wallis                                                                                               $549.43                      Undetermined
Torque Wrench/Radio Antenna - Maple                                                                                 $338.52                      Undetermined
Tranfer Chains addition to Oliver plant - COOP                                                                        $0.00                      Undetermined
                                                                                                                                                                 Doc 5




Tranfer Chains addition to Oliver plant - COOP                                                                       $20.24                      Undetermined
Transfer Chains - Coop - Parent - COOP                                                                                $0.00                      Undetermined
Trasformer - Maple                                                                                                $2,587.57                      Undetermined
TSI System (Flipper) - Wallis                                                                                         $0.00                      Undetermined
TSI System (Flipper) - Wallis                                                                                  $179,145.78                       Undetermined
Vacuum preassure tester - Maple                                                                                     $202.24                      Undetermined
Various tools - Government                                                                                          $539.88                      Undetermined
Various tools - Maple                                                                                             $3,886.99                      Undetermined
Wallis Road tools - Wallis                                                                                        $2,884.27                      Undetermined
Wallis Road tools - Wallis                                                                                          $230.66                      Undetermined
Wallis Road tools - Wallis                                                                                          $614.73                      Undetermined
                                                                                                                                                                 Filed 05/22/23




Wallis Video Surveillance System - Wallis                                                                         $9,499.08                      Undetermined
WR Infeed/Outfeed - Wallis                                                                                            $0.00                      Undetermined
                                                                                                 TOTAL:      $4,409,489.39            TOTAL:    Undetermined
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                                                 In re: Structurlam Mass Timber Corporation
                                                               Case No. 23-10499
                                                                  Schedule A/B 55
                                                                   Real property
                                                                  Nature and extent of     Net book value of Valuation method
                                                                  debtor's interest in     debtor's interest   used for current   Current value of
Description of property                    Location of property   property                 (where available) value                debtor's interest
2 Darkening blinds, HW office              Government             Leasehold Improvements               $622.75                        Undetermined
Additional Lighting/Flammable Storage      Maple                  Leasehold Improvements             $3,235.33                        Undetermined
Ancillary Improvements                     Maple                  Leasehold Improvements            $24,394.61                        Undetermined
Bathroom reno                              Maple                  Leasehold Improvements             $6,360.21                        Undetermined
Breaker - Lunchroom & Washroom             COOP                   Leasehold Improvements               $388.08                        Undetermined
Cameras - IT                               COOP                   Leasehold Improvements             $3,015.58                        Undetermined
Cameras - IT                               Maple                  Leasehold Improvements             $2,925.34                        Undetermined
Electrical Upgrade -Lumber RM              Government             Leasehold Improvements             $5,044.05                        Undetermined
Electrical, Bathroom & Smoke shack         Maple                  Leasehold Improvements            $32,158.54                        Undetermined
Fire Suppression Unit                      Maple                  Leasehold Improvements             $4,890.29                        Undetermined
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Flammable storage                          COOP                   Leasehold Improvements               $899.26                        Undetermined
Galina's Office                            Government             Leasehold Improvements               $215.94                        Undetermined
Head Office Expansion                      Government             Leasehold Improvements          $325,127.95                         Undetermined
Head office reno                           Government             Leasehold Improvements            $93,619.48                        Undetermined
Head office reno
                                                                                                                                                      Doc 5




                                           Government             Leasehold Improvements               $295.02                        Undetermined
Head office reno                           Government             Leasehold Improvements             $2,223.69                        Undetermined
Head office reno                           Government             Leasehold Improvements               $467.55                        Undetermined
HO furnishings                             Government             Leasehold Improvements             $7,448.01                        Undetermined
HO renovation                              Government             Leasehold Improvements            $10,561.93                        Undetermined
HO Upstairs Boardroom TV                   Government             Leasehold Improvements               $770.39                        Undetermined
Horn Stobes                                Maple                  Leasehold Improvements               $811.07                        Undetermined
Hot Water Tank                             COOP                   Leasehold Improvements             $3,349.70                        Undetermined
HVAC Venting                               COOP                   Leasehold Improvements             $1,123.49                        Undetermined
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LED light install                          Government             Leasehold Improvements               $661.39                        Undetermined
LED Lighting install & Exhaust Fans        Maple                  Leasehold Improvements             $3,578.11                        Undetermined
LH Imporvements                            COOP                   Leasehold Improvements             $1,518.99                        Undetermined
Maple Street - forklift garage             Maple                  Leasehold Improvements               $571.26                        Undetermined
Maple Street - Safety Wall                 Maple                  Leasehold Improvements               $235.01                        Undetermined
New Lighting - Plant                       Maple                  Leasehold Improvements               $616.42                        Undetermined
Office improvements                        Government             Leasehold Improvements          $168,323.15                         Undetermined
ORMP LH-CRUSH FOR FUTURE PAVING            COOP                   Leasehold Improvements            $14,828.52                        Undetermined
ORMP Office reno - move to Capex frm AUC   COOP                   Leasehold Improvements             $4,720.19                        Undetermined
                                                                                                                                                      Page 185 of 192




Outlets and Lighting                       Government             Leasehold Improvements             $5,427.93                        Undetermined
Paving & Gate                              COOP                   Leasehold Improvements            $13,482.63                        Undetermined
Perimeter Fence - Maple                    Maple                  Leasehold Improvements            $16,472.46                        Undetermined
Renovations Maint room                     COOP                   Leasehold Improvements             $5,318.94                        Undetermined
Replacement Roof Fan                       Government             Leasehold Improvements               $380.03                        Undetermined



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                                              In re: Structurlam Mass Timber Corporation
                                                            Case No. 23-10499
                                                               Schedule A/B 55
                                                                Real property
                                                               Nature and extent of        Net book value of Valuation method
                                                               debtor's interest in        debtor's interest   used for current   Current value of
Description of property                 Location of property   property                    (where available) value                debtor's interest
Safety Rails                            Maple                  Leasehold Improvements               $18,805.04                        Undetermined
Sarmax Sander Tent                      Maple                  Leasehold Improvements             $104,958.37                         Undetermined
Setup Capex- Bathroom Renovation ORMP   COOP                   Leasehold Improvements               $14,633.50                        Undetermined
Shed Siding                             Maple                  Leasehold Improvements               $14,427.99                        Undetermined
Shelter over Evap. Pond                 Maple                  Leasehold Improvements                $1,267.27                        Undetermined
Shelving - Electical                    Maple                  Leasehold Improvements                  $742.50                        Undetermined
                                                                                    TOTAL:        $920,917.96              TOTAL:    Undetermined
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                       In re: Structurlam Mass Timber Corporation
                                     Case No. 23-10499
                                         Schedule A/B 60
                        Patents, copyrights, trademarks, and trade secrets

                                  Net book value of        Valuation method
                                  debtor's interest        used for current   Current value of
Description                       (where available)        value              debtor's interest
Trademarks
STRUCTURLAM Trademark
No.2072938 Canada                                  $0.00                          Undetermined
STRUCTURLAM Logo Trademark
No.2072940 Canada                                  $0.00                          Undetermined

GlulamPlus by Structurelan Logo
Trademark No.2071817 Canada                        $0.00                          Undetermined
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FRAMEWORKS Trademark
No.2071818 Canada                                  $0.00                          Undetermined
CROSSLAM Trademark
No.2072939 Canada                                  $0.00                          Undetermined
                                                                                                  Doc 5




CROSSLAM Trademark
No.1497306 Canada                                  $0.00                          Undetermined


CROSSLAM Trademark
No.86/220,150 United States                        $0.00                          Undetermined
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CROSSLAM Trademark
No.88/776,562 United States                        $0.00                          Undetermined
STRUCTURLAM Trademark
No.90/785,855 United States                        $0.00                          Undetermined

STRUCTURLAM Logo Trademark
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No.90/785,860 United States                        $0.00                          Undetermined
GlulamPlus by Structurelan Logo
Trademark No.90/776,827 United
States                                             $0.00                          Undetermined



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                                         Schedule A/B 60
                        Patents, copyrights, trademarks, and trade secrets

                                   Net book value of       Valuation method
                                   debtor's interest       used for current     Current value of
Description                        (where available)       value                debtor's interest
FRAMEWORKS Trademark
No.90/776,825 United States                        $0.00                            Undetermined

Patents
ACCESS MAT Patent No. US
9303366 B2 United States                           $0.00                            Undetermined
Method of manufacturing glue
laminated timber columns Patent
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No. CA 2984079 Canada                              $0.00                            Undetermined
                          TOTAL:                   $0.00               TOTAL:       Undetermined
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                   In re: Structurlam Mass Timber Corporation
                                 Case No. 23-10499
                                   Schedule A/B 61
                         Internet domain names and websites

                                 Net book value of       Valuation method
                                 debtor's interest       used for current    Current value of
Description                      (where available)       value               debtor's interest
structurelam.ca                                    $0.00                         Undetermined
structurelam.com                                   $0.00                         Undetermined
structurlam.ca                                     $0.00                         Undetermined
structurlam.com                                    $0.00                         Undetermined
                        TOTAL:                     $0.00            TOTAL:       Undetermined
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                                                  Notes receivable


                                                                                      Doubtful or
                                                                                      uncollectible Current value of
Description (include name of obligor)                             Total face amount amount          debtor's interest
Preferred stock purchase plan loan receivable - Michael Darby              $74,626.87                   Undetermined
Preferred stock purchase plan loan receivable - Marlene Higgins            $74,626.87                   Undetermined
Preferred stock purchase plan loan receivable - Hardy Wentzl              $373,134.33                   Undetermined
Preferred stock purchase plan loan receivable - Blaine Peterson            $74,626.87                   Undetermined
Preferred stock purchase plan loan receivable - Andre Morf                 $74,626.87                   Undetermined
                                                            TOTAL         $671,641.81       TOTAL:     Undetermined
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                                                                   Schedule A/B 73
                                                     Interests in insurance policies or annuities

                                                                                                    Account number / Policy   Current value of
Company                                                Policy Type                                  number                    debtor's interest
Beazley Group                                          Professional Liability                       -                             Undetermined
Coalition Insurance                                    Cyber Liability                              C-4MHK-175254                 Undetermined
Continental Casualty                                   3rd Excess Liability                         MPR665399966                  Undetermined
Intact Financial Corporation                           D&O 2nd Excess                               5D5591495                     Undetermined
Liberty International Underwriters                     D&O 3rd Excess                               DOVAAB82MC002                 Undetermined
Miller Insurance Holdings Limited                      1st XS E&O                                   B0621PSTRU009022              Undetermined
Miller Insurance Holdings Limited                      2nd XS E&O                                   B0621PSTRU009122              Undetermined
Miller Insurance Holdings Limited                      Manufacturers E&O                            B0621PSTRU0088                Undetermined
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QBE Insurance Group Limited                            2nd Excess Liability                         CAEX13494                     Undetermined
QBE Insurance Group Limited                            General Liability                            CGA1365578                    Undetermined
QBE Insurance Group Limited                            US General Liability                         -                             Undetermined
                                                                                                                                                  Doc 5




RSA Insurance Group                                    Boiler & Machinery                           EBI053259887                  Undetermined
RSA Insurance Group / Zurich Insurance Group           Canadian Property/Equipment                  -                             Undetermined
StarStone National Insurance Company                   1st Excess Liability                         -                             Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  026710725-01                  Undetermined
The Hanover Insurance Group, Inc. led with various
                                                                                                                                                  Filed 05/22/23




other Insurance Carriers                               US Property                                  22SLCFM11570401               Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  73PRX22AF82 PN316440Q         Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  76429687 UTS2570783.22        Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  795019695 PXP0000090-00       Undetermined
The Hanover Insurance Group, Inc. led with various
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other Insurance Carriers                               US Property                                  7EA7XPI00l587-01              Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  BXS0004018 0100161285-1       Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  ENSI000244                    Undetermined



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                                                                   Schedule A/B 73
                                                     Interests in insurance policies or annuities

                                                                                                    Account number / Policy       Current value of
Company                                                Policy Type                                  number                        debtor's interest
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  FQY-H753480-01                    Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  PAC-PR00000002-C0                 Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  PN31641lq                         Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  PN3164l0q                         Undetermined
The Hanover Insurance Group, Inc. led with various
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other Insurance Carriers                               US Property                                  PN319340q                         Undetermined
The Hanover Insurance Group, Inc. led with various
other Insurance Carriers                               US Property                                  RENND21000600109                  Undetermined
                                                                                                                                                      Doc 5




The Travelers Companies, Inc.                          Directors & Officers Liability               75514927                          Undetermined
Tokio Marine Kiln                                      1st Excess Liability CDN                     B0572NA21EAXW                     Undetermined
Trisura Specialty Insurance Company                    D&O 1st Excess                               VDO1008312                        Undetermined
                                                                                                                         TOTAL:       Undetermined
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